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American Express National Bank




                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION


 AMERICAN EXPRESS NATIONAL BANK,
                                                                             Case No. ________
        Plaintiff,

 v.

 MICHAEL MALEKZADEH and                                                      COMPLAINT
 BETHANY MOCKERMAN,

        Defendants.




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                                            COMPLAINT

        Plaintiff American Express National Bank (“American Express”), by and through its

undersigned counsel, files this Complaint against Defendants Michael Malekzadeh and Bethany

Mockerman and states as follows:

                                  The Parties, Jurisdiction and Venue

        1.       Plaintiff American Express is a national bank with its principal place of business

located in the state of Utah.

        2.       Defendant Michael Malekzadeh (“Malekzadeh”) is an individual and, upon

information and belief, a citizen and resident of Eugene, Lane County, Oregon, and is subject to

the jurisdiction of this Court.

        3.       Defendant Bethany Mockerman (“Mockerman”) is an individual and, upon

information and belief, a citizen and resident of Eugene, Lane County, Oregon, and is subject to

the jurisdiction of this Court.

        4.       This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

1332(a)(1), which confers original jurisdiction of civil actions in a federal district court where, as

here, the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs, and is

between citizens of different states.

        5.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1), given that both

of the Defendants reside in this judicial district, and 28 U.S.C. § 1391(b)(2), given that substantial

parts of the events giving rise to the claims herein occurred in this judicial district.

                                          Background Facts

        6.       American Express brings this action to collect unpaid balances that are past due and

owing on various credit card accounts that American Express issued either to Malekzadeh



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personally, or to Malekzadeh’s former business, Zadeh Kicks LLC (“Zadeh Kicks”), which is now

defunct, insolvent and the subject of a receivership action pending in the Circuit Court for the State

of Oregon for Lane County (Case No. 22-CV-16510) (the “Oregon Receivership Proceeding”).

          7.       Zadeh Kicks held itself out as a premium-brand sneaker resale business that

engaged, largely or primarily, in presales to customers of yet-to-be-released sneakers – i.e.,

customers could pre-order and pay, weeks or months in advance, for sneaker models before they

were even released by manufacturers such as Nike, which orders Zadeh Kicks would then be

obligated to source, fulfill and ship to customers when the sneakers were in fact released by the

manufacturers.

          8.       It is unclear through what means, legitimate or otherwise, Zadeh Kicks was able to

guarantee access to such pre-release sneakers in order to fulfill voluminous preorders.

          9.       At all times relevant to this Complaint, Malekzadeh was the sole owner and Chief

Executive Officer of Zadeh Kicks.

          10.      At all times relevant to this Complaint, Mockerman was the Chief Financial Officer

of Zadeh Kicks. On information and belief, Mockerman also was and is Malekzadeh’s romantic

partner and fiancée.

          11.      The following “American Express” credit card accounts are the subject of this

action:

                (a) an American Express Business Plum Card account ending in 2-21003 (the “Plum

Card Account”) issued by American Express to Zadeh Kicks, on which account Malekzadeh was

the individual designated to be the Basic Cardmember (i.e., the primary card holder) responsible

for administration and proper use of the account, for receipt of monthly billing statements on the

account, and (as set forth more fully below) to be jointly and severally liable, along with Zadeh



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Kicks, for any and all charges placed on the account; and

             (b) an American Express Business Gold Rewards Card account ending in 3-14001

(the “Business Gold Card Account”) issued by American Express to Zadeh Kicks, on which

account Malekzadeh was the individual designated to be the Basic Cardmember responsible for

administration and proper use of the account, for receipt of monthly billing statements on the

account, and (as set forth more fully below) to be jointly and severally liable, along with Zadeh

Kicks, for any and all charges placed on the account; and

             (c) an American Express Blue Cash Everyday Card account ending in 1-11009 (the

“Blue Cash Card Account”) issued by American Express to Mockerman directly and in her

personal capacity.

In addition to the foregoing accounts that are directly at issue in this action, American Express also

issued an American Express Schwab Platinum Card account ending in 8-61006 to Malekzadeh

directly and in his personal capacity.

                               COUNT I
       (BREACH OF CONTRACT – PLUM CARD ACCOUNT - MALEKZADEH)

       12.      American Express re-alleges and incorporates its allegations contained in

paragraphs 1 through 11 above as if fully set forth herein.

       13.      In connection with the issuance of the Plum Card Account, both Zadeh Kicks and

Malekzadeh entered into a valid contract with American Express known as the Cardmember

Agreement (the “Plum Card CMA”). The Plum Card CMA governs, among other things, all use

of and liability for charges incurred on the Plum Card Account, and expressly provides that

Malekzadeh, as the designated Basic Cardmember on the Plum Card Account, is directly,

personally and (with Zadeh Kicks) jointly and severally liable to American Express for any and

all charges incurred on the account, regardless of the purpose of the charge, and expressly


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including both unpaid charges on any cards issued to Malekzadeh himself, and all unpaid charges

incurred by any additional cardholders on that account. A true, complete, and accurate copy of the

Plum Card CMA is attached to this Complaint as Exhibit A and incorporated herein by reference.

       14.     The Plum Card CMA also provides that Malekzadeh is liable for and obligated to

pay all reasonable costs, including attorneys’ fees, that American Express incurs in order to collect

amounts owed on the Plum Card Account.

       15.     American Express has fully performed all of its obligations under the Plum Card

CMA.

       16.     As of the filing of this Complaint, charges incurred but past due and unpaid on the

Plum Card Account, and as required under the Plum Card CMA, total no less than $1,314,708.59

in the aggregate. In addition, Zadeh Kicks is now defunct, insolvent, the subject of the Oregon

Receivership Proceeding, and unlikely ever to be the source of payment of past due obligations on

the Plum Card Account.

       17.     As a result of Zadeh Kicks’ and Malekzadeh’s breach of the Plum Card CMA,

Malekzadeh is accordingly liable to American Express for no less than $1,314,708.59 in

compensatory damages, plus applicable interest as provided in that contract, attorneys’ fees and

other costs of collection.

                             COUNT II
 (BREACH OF CONTRACT – BUSINESS GOLD CARD ACCOUNT - MALEKZADEH)

       18.     American Express re-alleges and incorporates its allegations contained in

paragraphs 1 through 11 above as if fully set forth herein.

       19.     In connection with the issuance of the Business Gold Card Account, both Zadeh

Kicks and Malekzadeh entered into a valid contract with American Express known as the

Cardmember Agreement (the “Business Gold Card CMA”). The Business Gold Card CMA


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governs, among other things, all use of and liability for charges incurred on the Business Gold

Card Account, and expressly provides that Malekzadeh, as the designated Basic Cardmember on

the Business Gold Card Account, is directly, personally and (with Zadeh Kicks) jointly and

severally liable to American Express for any and all charges incurred on the account, regardless of

the purpose of the charge, and expressly including both unpaid charges on any cards issued to

Malekzadeh himself, and all unpaid charges incurred by any additional cardholders on that

account. A true, complete, and accurate copy of the Business Gold Card CMA is attached to this

Complaint as Exhibit B and incorporated herein by reference.

       20.     The Business Gold Card CMA also provides that Malekzadeh is liable for and

obligated to pay all reasonable costs, including attorneys’ fees, that American Express incurs in

order to collect amounts owed on the Plum Card Account.

       21.     American Express has fully performed all of its obligations under the Business

Gold Card CMA.

       22.     As of the filing of this Complaint, charges incurred but past due and unpaid on the

Business Gold Card Account, and as required under the Business Gold Card CMA, total no less

than $712,064.96 in the aggregate. In addition, Zadeh Kicks is now defunct, insolvent, the subject

of the Oregon Receivership Proceeding, and unlikely ever to be the source of payment of past due

obligations on the Business Gold Card Account.

       23.     As a result of Zadeh Kicks’ and Malekzadeh’s breach of the Business Gold Card

CMA, Malekzadeh is accordingly liable to American Express for no less than $712,064.96 in

compensatory damages, plus applicable interest as provided in that contract, attorneys’ fees and

other costs of collection.




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                             COUNT III
    (BREACH OF CONTRACT – BLUE CASH CARD ACCOUNT - MOCKERMAN)

       24.     American Express re-alleges and incorporates its allegations contained in

paragraphs 1 through 11 above as if fully set forth herein.

       25.     In connection with the issuance of the Blue Cash Card Account, Mockerman

entered into a valid contract with American Express known as the Cardmember Agreement (the

“Blue Cash Card CMA”). The Blue Cash Card CMA governs, among other things, all use of and

liability for charges incurred on the Blue Cash Card Account, and expressly provides that

Mockerman is obligated to pay any and all charges placed on the account, including charges made

by Mockerman herself, charges that Mockerman may have allowed other people to make, and

charges made or permitted by the holders of any additional cards requested to be issued on the

account. A true, complete, and accurate copy of the Blue Cash Card CMA is attached to this

Complaint as Exhibit C and incorporated herein by reference.

       26.     The Blue Cash Card CMA also provides that Mockerman is liable for and obligated

to pay all reasonable costs, including attorneys’ fees that American Express incurs in order to

collect amounts owed on the Blue Cash Card Account.

       27.     American Express has fully performed all of its obligations under the Blue Cash

Card CMA.

       28.     As of the filing of this Complaint, charges incurred but past due and unpaid by

Mockerman on the Blue Cash Card Account, and as required under the Blue Cash Card CMA,

total no less than $3,000.00 in the aggregate.

       29.     As a result of her breach of the Blue Cash Card CMA, Mockerman is accordingly

liable to American Express for no less than $3,000.00 in compensatory damages, plus applicable

interest as provided in that contract, attorneys’ fees and other costs of collection


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                                       COUNT IV
                         (FRAUD – MALEKZADEH AND MOCKERMAN)

       30.     American Express re-alleges and incorporates its allegations contained in

paragraphs 1 through 23 above as if fully set forth herein.

       31.     In the ordinary course of its business, American Express conducts credit reviews

and financial-risk analyses on its account-holder customers, and assesses customer requests for

credit-line increases.

       32.     Prior to mid-March of 2022, Zadeh Kicks was purchasing inventory from vendors

using, and otherwise incurring charges and obtaining credit from American Express on, the Plum

Card Account and the Business Gold Card Account, but subject to a maximum credit limit of $1

Million that American Express had established previously.

       33.     Beginning in mid-to-late 2021, Zadeh Kicks, through Malekzadeh and Mockerman,

requested that its aggregate credit limit on the Plum Card Account and the Business Gold Card

Account be increased above the then-imposed $1 Million credit limit, citing business expansion,

increased sales volume and the need to substantially ramp up purchases of inventory.

       34.     Zadeh Kicks’ request for a material increase in its credit limit initiated American

Express’s regular underwriting and credit review process.                             Through several rounds of

communications with Malekzadeh and Mockerman, American Express requested financial

information, tax returns and various other documentation in order to consider Zadeh Kicks’

requested credit limit increase.

       35.     Among the materials provided to American Express by Malekzadeh and

Mockerman during this underwriting and risk-analysis process were company-prepared financial

statements for Zadeh Kicks for the year ending December 31, 2021 (the “2021 Zadeh Financial

Statement”), which were provided to American Express on or about February 22, 2022.


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Malekzadeh, the designated Basic Cardmember and personally liable individual on both accounts,

also provided a Personal Financial Statement (“PFS”) to American Express, among other materials

and information.

       36.     On information and belief, Malekzadeh and Mockerman, in their respective

positions as Chief Executive Officer and Chief Financial Officer of Zadeh Kicks, were solely and

entirely responsible for preparation of the 2021 Zadeh Financial Statement, and Malekzadeh was

personally responsible for preparation of his PFS. In addition, Malekzadeh and Mockerman

prepared these documents for the specific purpose of providing them to creditors, including to

American Express in connection with its review of Zadeh Kicks’ request for an increased credit

limit on the Plum Card Account and the Business Gold Card Account.

       37.     The 2021 Zadeh Financial Statement reflected, among other details, that the

company’s revenues during calendar year 2021 had exceeded $304.9 Million, that its net income

had exceeded $17.4 Million, that it had cash on hand of over $9.3 Million, and that the company

had an aggregate tangible net worth (total assets less total liabilities) as of December 31, 2021 of

over $26.1 Million. The PFS provided to American Express by Malekzadeh reflected, among

other details, that Malekzadeh had a total, personal net worth of over $7.7 Million.

       38.     Following its ordinary procedure for underwriting credit-line increases, and in

specific and reasonable reliance upon the financial documentation provided by Malekzadeh and

Mockerman, American Express agreed on or about March 28, 2022 to raise the aggregate credit

limit on the Plum Card Account and the Business Gold Card Account from $1 Million to $2

Million.

       39.     As revealed by the series of events that followed quickly thereafter, however, the

representations of fact contained in the financial documentation provided to American Express by



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Malekzadeh and Mockerman, and specifically the information in the 2021 Zadeh Financial

Statement and the PFS, were materially false and misleading, if not entirely fabricated by

Malekzadeh and Mockerman for the specific purpose of deceiving American Express.

       40.     Hidden from American Express in February of 2022, in fact, and even more so into

March of 2022, Zadeh Kicks was in significant financial distress, had sold an enormous volume

of paid merchandise pre-orders to customers that it could never possibly fulfill, was otherwise

unable to meet its business obligations as they came due, and had unsatisfied liabilities to

customers, vendors and others that vastly exceeded the sum of its inventory and other assets.

       41.     On April 29, 2022, only about nine weeks after Malekzadeh and Mockerman

provided the 2021 Zadeh Financial Statement and PFS to American Express, and only about four

weeks after American Express agreed to raise its credit limit in specific reliance on those

documents, Zadeh Kicks effectively conceded its inability to continue to fulfill customer

obligations when it ceased accepting new orders from customers altogether.

       42.     On May 19, 2022, with its financial collapse hopelessly irreversible and no hope of

satisfying multiple millions of dollars in outstanding obligations, Zadeh Kicks initiated the Oregon

Receivership Proceeding, and a receiver was appointed on May 20, 2022, to administer a

liquidation of the company’s assets and a process for addressing creditor claims.

       43.     At no point between their submission of financial documentation to American

Express prior to and in February of 2022 and the complete cessation of the company’s business in

May of 2022 did Malekzadeh or Mockerman ever advise American Express of the true state of

Zadeh Kicks’ financial affairs, or indicate that any of the documentation previously provided to

American Express for purposes of its underwriting and risk analysis was not (or at least, was no

longer) even remotely true and accurate.



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       44.     Over the period between their provision of the 2021 Zadeh Financial Statement and

the PFS to American Express and early May of 2022, when Zadeh Kicks effectively ceased

operations altogether, Malekzadeh and Mockerman incurred additional charges on the Plum Card

Account and the Business Gold Card Account totaling no less than $2,026,773.55, which charges

are now past due and unpaid, and which are unlikely ever to be paid to any material extent from

the assets of Zadeh Kicks or in connection with the Oregon Receivership Proceeding.

       45.     Had the 2021 Zadeh Financial Statement and the PFS that Malekzadeh and

Mockerman provided to American Express accurately reflected the dire state of Zadeh Kick’s

financial status at that time, and other relevant financial information that American Express

otherwise had no reasonable way of learning or verifying, then not only would American Express

have refused to increase the credit limits on the Plum Card Account and the Business Gold Card

Account by an additional $1 Million of exposure, but use of both of those accounts would have

been immediately frozen or terminated by American Express, such that no additional charges could

have been incurred on the accounts from that point forward.

       46.     The 2021 Zadeh Financial Statement was made and published by Malekzadeh and

Mockerman with the intent to deceive American Express.

       47.     The PFS was made and published by Malekzadeh with intent to deceive American

Express.

       48.     Accordingly, and as a direct and proximate result of its reasonable reliance on the

misrepresentations and/or omissions of material fact in the 2021 Zadeh Financial Statement, the

PFS and other documentation prepared and provided by Malekzadeh and Mockerman, American

Express has been damaged in the sum of no less than the $2,026,773.55 in additional and unpaid

charges that they subsequently placed on the Plum Card Account and the Business Gold Card



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Account.

       49.     Defendants’ conduct as alleged above was done in furtherance of their own private

interests, and was willful, malicious, wanton, and oppressive, and done with conscious and callous

indifference to the consequences and with specific intent to harm. Accordingly, American Express

is entitled to an award of punitive damages from Defendants and each of them in an amount to be

proven at trial and sufficient to punish, penalize and deter Defendants from engaging in such

conduct in the future.

                                     COUNT V
                             (ATTACHMENT - MALEKZADEH)

       50.     American Express re-alleges and incorporates its allegations contained in

paragraphs 1 through 49 above as if fully set forth herein.

       51.     Malekzadeh operated Zadeh Kicks as a Ponzi scheme, for the purpose of defrauding

its customers. As its ordinary business practice, Zadeh Kicks obtained preorders from its national

customer base for limited edition sneakers that were yet to be released. Zadeh Kicks continued its

preorder practice up until the eve of its receivership filing, leaving its customers owed millions of

dollars. Malekzadeh was the controlling officer and member of Zadeh Kicks.

       52.     On information and belief, Malekzadeh used the proceeds of customer preorders to

fund his extravagant lifestyle, including the purchase of luxury automobiles and other luxury goods

and services, payment of exorbitant salaries and distributions of assets by Zadeh Kicks to himself,

and other misuse of his ill-gotten gains to be established in the course of discovery.

       53.     As a consequence of his activities at Zadeh Kicks, Malekzadeh is the subject of an

ongoing criminal investigation by the Federal Bureau of Investigation, as well as, on information

and belief, an investigation by the appointed receiver in the Oregon Receivership Proceeding.

       54.     Since the failure of Zadeh Kicks, Malekzadeh has begun selling off assets,


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including his luxury cars, as reported by the Register Guard.

       55.     According to the PFS provided by Malekzadeh to American Express in connection

with the request for an increased limit on the Zadeh Kicks business credit cards, Malekzadeh

owned the following assets as of March 2022, among others:

       (a)     Unencumbered cash in the sum of $141,000.00;

       (b)     A life insurance policy valued at $25,000.00;

       (c)     Luxury automobiles (including, without limitation, a Porsche, a Rolls Royce

       Cullinan and a Lamborghini) valued at $3,810,000.00, on which Malekzadeh represented

       that he owed loan balances amounting to only $684,094.77; and

       (d)     “Other assets” amounting to $4,475,000.00;

all of which, net of his total liabilities, left him with a supposed personal net worth of

$7,767,000.00. In addition, Malekzadeh represented in the PFS that he had an annual salary of

$112,000.00, and annual dividend or investment income (presumably transfers or distributions of

supposed equity in Zadeh Kicks) amounting to $4,504,000.00, amounting to total annual income

of in excess of $4,500,000.00.

       56.     As a result of his mounting criminal and civil liability and as evidenced by his

ongoing liquidation of personal assets and his activities as officer and manager of Zadeh Kicks,

there is a substantial danger that Malekzadeh is engaging in conduct that would place his assets in

danger of concealment, removal from the state, or transfer to an innocent purchaser, including

recipients of potential fraudulent transfers.

       57.     If Malekzadeh’s assets are not attached pending the outcome of this action,

American Express will be irreparably injured.

       58.     There is no reasonable probability that Malekzadeh can establish a successful



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defense to American Express’s claims for breach of contract.

       59.       The amounts owing to American Express are not secured by any mortgage, lien, or

pledge, or if so secured, have been rendered nugatory by the acts of Malekzadeh.

       60.       American Express’s claims for breach of contract under the Plum Card CMA and

the Business Gold Card CMA are not claims based upon a consumer transaction.

       61.       American Express does not seek attachment over any consumer goods as defined

in ORCP 83.

      RESERVATION OF RIGHTS AND ASSERTION OF ADDITIONAL CLAIMS

       62.       While the claims asserted in Counts I through V above include all causes of action

against the Defendants that American Express has specific facts to support as of the filing of this

Complaint, American Express has reason to believe that, and intends fully to investigate whether,

facts relating to the following give rise to additional causes of action by American Express against

the Defendants, and perhaps others acting in concert with them:

       (a)       the Defendants’ use of the various American Express credit card accounts at issue

       herein,

       (b)       precisely when the operations and/or business model of Zadeh Kicks in fact began

       to constitute a Ponzi scheme (in which proceeds of paid pre-orders from new customers

       were instead used to fulfill orders of merchandise by earlier customers, requiring a constant

       influx of new orders to sustain order fulfillment), and

       (c)       the Defendants’ actions prior to and immediately after the collapse and cessation of

       business of Zadeh Kicks (including, without limitation, whether the Defendants were

       recipients of actual or constructive fraudulent transfers from Zadeh Kicks),

American Express accordingly reserves its rights to conduct discovery in this action aimed at



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investigating the existence of facts supporting any additional causes of action, and if such facts are

found to exist, to amend this Complaint to add such additional claims.



       WHEREFORE, American Express respectfully requests that the Court:

       (a)       enter judgment in favor of American Express, and against Malekzadeh, and award

monetary damages to American Express in the aggregate amount of its damages caused by

Malekzadeh’s breaches of contract as set forth in Counts I and II above, to be determined at trial,

but no less than $2,026,773.55; and

       (b)       enter judgment in favor of American Express, and against Mockerman, and award

monetary damages to American Express in the aggregate amount of its damages caused by

Mockerman’s breaches of contract as set forth in Count III above, to be determined at trial, but no

less than $3,000.00; and

       (c)       enter judgment in favor of American Express, and against Malekzadeh and

Mockerman, jointly and severally, and award monetary damages to American Express in the

aggregate amount of its damages caused by Malekzadeh’s and Mockerman’s fraud as set forth in

Count IV above, to be determined at trial, but no less than $2,026,773.55, plus punitive damages;

and

       (d)       with respect to the fraud judgment, issue findings of fact consistent with 11 U.S.C.

523(a)(2); and

       (e)       award American Express any interest on such principal balances that has accrued

under the applicable contracts as of the date of entry of judgment, as well as any post-judgment

interest that may accrue thereafter until such judgment is satisfied; and

       (f)       allow American Express to attach Malekzadeh’s assets as set forth in Count V



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above; and

        (g)        award American Express all reasonable costs, including attorneys’ fees, that it has

or will have incurred in order to collect the amounts at issue in this Complaint; and

        (h)        grant American Express such other and further relief as the Court deems just,

equitable, and proper.



DATED this 21st day of July 2022

                                                               MILLER NASH LLP

                                                               /s/ Garrett S. Ledgerwood
                                                               Garrett S. Ledgerwood (OSB# 143701)
                                                               Garrett.Ledgerwood@MillerNash.com
                                                               Phone: 503.205.5858


                                                               ARNALL GOLDEN GREGORY LLP

                                                               /s/ Darryl S. Ladin______________________
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                                                               darryl.laddin@agg.com
                                                               Frank N. White (pro hac vice pending)
                                                               frank.white@agg.com
                                                               Phone: 404.873.8120

                                                               Attorneys for Plaintiff American Express
                                                               National Bank




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                                   FAIR DEBT COLLECTION
                                   PRACTICES ACT NOTICE
TO: BETHANY MOCKERMAN
We are attempting to collect a debt on behalf of the Plaintiff (also referred to as the "creditor")
named in the foregoing Summons and in the Complaint served on you with the Summons, and any
information obtained will be used for that purpose. The debt described in the Complaint as the
Blue Cash Card Account is owed to the Plaintiff and is subject to this notice. Under some
circumstances, you may receive more than one copy of the Summons and Complaint. Unless you
dispute the validity of the debt described in the Complaint as the Blue Cash Card Account, or any
portion thereof, within 30 days after you first receive a copy of the Summons and Complaint, we
will assume that debt to be valid. If you notify us in writing within 30 days after you first receive
a copy of the Summons and Complaint that the debt described in the Complaint as the Blue Cash
Card Account, or any portion thereof, is disputed, we will obtain verification of the debt and a
copy of the verification will be mailed to you. We will provide you with the name and address of
the original creditor, if different from the Plaintiff, if you notify us in writing within 30 days after
the date you first receive the Summons and Complaint that you request such information.
PLEASE BE ADVISED THAT NOTWITHSTANDING ANY NOTICE THAT YOU GIVE TO
US DISPUTING THE VALIDITY OF THE DEBT DESCRIBED IN THE COMPLAINT AS THE
BLUE CASH CARD ACCOUNT (OR ANY PORTION THEREOF) OR ANY NOTICE THAT
YOU GIVE TO US REQUESTING INFORMATION REGARDING THE ORIGINAL
CREDITOR (IF DIFFERENT FROM THE PLAINTIFF), YOU MUST RESPOND TO THE
COMPLAINT IN THIS CASE IN THE MANNER AND WITHIN THE TIME PROVIDED BY
LAW OR THE PLAINTIFF WILL WIN AUTOMATICALLY.




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                              Cardmember Agreement: Part 2 of 2

How Your American Express Account Works
Introduction
About your Cardmember       This document together with Part 1 make up              When you or an Additional Cardmember, as defined
Agreement                   the Cardmember Agreement (Agreement) for                below, use the Account (or sign or keep a card), you
                            the Account identified on page 1 of Part 1. Any         agree to the terms of the Agreement.
                            supplements or amendments are also part of the
                            Agreement.
Words we use in the         We, us, and our mean the issuer shown on page           Card means any card or other device that we issue
Agreement                   1 of Part 1. Except as provided below, Basic            to access your Account. A charge is any amount
                            Cardmember means the person who applied for this        added to your Account, such as purchases and fees.
                            account or to whom we address billing statements.       A purchase is a charge for goods or services.
                            Company means the business for which the Account        To pay by a certain date means to send your payment
                            is established. You and your mean the Basic             so that we receive it and credit it to your Account by
                            Cardmember and the Company. You agree, jointly          that date (see About your payments in Part 2).
                            and severally, to be bound by the terms of this
                            Agreement.
Additional Cardmembers      At your request, we may issue cards to Additional       You authorize us to give Additional Cardmembers
                            Cardmembers. They do not have accounts with us          information about the Account and to discuss it with
                            but they can use your Account subject to the terms of   them.
                            this Agreement.                                         If you want to cancel an Additional Cardmember's
                            You are responsible for all use of the Account by       right to use your Account (and cancel their card) you
                            Additional Cardmembers and anyone they allow            must tell us.
                            to use the Account. You must pay for all charges        We may refer to Additional Card(s) and Additional
                            they make. You must share this agreement with all       Cardmember(s) as Employee Card(s) and Employee
                            Additional Cardmembers.                                 Cardmember(s). All terms and conditions that apply to
                            You must tell Additional Cardmembers that:              Additional Cards also apply to Employee Cards.
                            ● we may obtain, provide and use information about
                              them.
                            ● their use of the Account is subject to this
                              Agreement.
Replacement Basic           You must tell us if the Basic Cardmember is no longer   obligations and liabilities of the Basic Cardmember
Cardmember                  an employee or officer of the Company or does not       under this Agreement, as of the date that such person
                            want to be the Basic Cardmember. In that case, you      replaces the Basic Cardmember. That person is
                            must either close the Account, or propose another       subject to our approval.
                            person to replace the Basic Cardmember.                 You agree that the Basic Cardmember remains the
                            If you propose another person to replace the Basic      Basic Cardmember until we approve a replacement or
                            Cardmember, that person must agree to assume the        the Account is closed.
About using your card
Using the card              You may use the card to make purchases. You may         ● the merchant may charge your account at regular
                            also use the card at an ATM to get cash from a            intervals; or
                            checking account you designate.                         ● you may make charges using that stored card
                                                                                      information.
                            Each Cardmember acknowledges and agrees that
                            cards are intended to be used for the Company's         We may (but are not required to) tell these merchants
                            commercial or business purposes.                        if your expiration date or card number changes or
                                                                                    if your account is cancelled. You must notify the
                            We decide whether to approve a charge based on          merchants directly if you want them to stop charging
                            how you spend and pay on this Account and other         your Account.
                            accounts you have with us and our affiliates. We
                            also consider your credit history and your personal     Keep your card safe and don't let anyone else use it.
                            resources that we know about.                           If your card is lost or stolen or your Account is being
                                                                                    used without your permission, contact us right away.
                            You may arrange for certain merchants to store          You may not use your Account for illegal activities.
                            your card number and expiration date, so that, for
                            example:
Promise to pay              You promise to pay all charges, including:
                            ● charges you make, even if you do not present your card or sign for the transaction,
                            ● charges that other people make, whether or not you or an Additional Cardmember intend to let them use the
                              Account, subject to applicable law, and
                            ● charges that Additional Cardmembers make or permit others to make.
Declined transactions       We may decline to authorize a charge. Reasons           We are not responsible for any losses you incur if we
                            we may do this include suspected fraud and our          do not authorize a charge. And we are not responsible
                            assessment of your creditworthiness. This may occur     if any merchant refuses to accept the card.
                            even if your Account is not in default.




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About Pay Over Time features   We may add features to the Account that allow you to pay certain charges over time.
                               If you enroll in the Extended Payment Option, we will automatically place all eligible charges into a Pay Over
                               Time balance. A charge is eligible if it equals or is more than a certain dollar amount. We will tell you this
                               amount when you enroll, and it is subject to change. We will tell you if we change it. Certain charges are not
                               eligible, such as cash and similar transactions.
                               We assign a Pay Over Time limit to your Account. We will not place any charge into a Pay Over Time balance
                               if it causes the total of your Pay Over Time balances to go over your Pay Over Time limit. We may increase or
                               decrease the Pay Over Time limit. We may do so even if you pay on time and your Account is not in default.
                               We will tell you if we change that amount. You must pay in full upon receipt of your billing statement all charges
                               that are not placed into a Pay Over Time balance. We may change which charges are eligible to be placed into
                               a Pay Over Time balance.

About your payments
When you must pay              Payment of the New Balance is due upon receipt of        Each statement also shows a Closing Date. The
                               your statement. If a statement includes a Pay Over       Closing Date is the last day of the billing period
                               Time balance, it will show a Minimum Payment Due.        covered by the statement. Each Closing Date is about
                               In this case, you must pay at least the Minimum          30 days after the previous statement's Closing Date.
                               Payment Due by the Payment Due Date. Each                Each statement also shows a Next Closing Date.
                               statement also states the time and manner by which
                               you must make your payment for it to be credited as
                               of the same day it is received.

How to make payments           Make payments to us in U.S. dollars with:                the billing statement. If we receive it after that time, we
                               ● a single check drawn on a U.S. bank, or                will credit the payment on the day after we receive it.
                               ● a single negotiable instrument clearable through       If your payment does not meet the above
                                 the U.S. banking system, for example a money
                                                                                        requirements, there may be a delay in crediting the
                                 order, or
                               ● an electronic payment that can be cleared              Account. This may result in late fees and additional
                                 through the U.S. banking system.                       interest charges (see How Rates and Fees Work on
                                                                                        page 2 of Part 1).
                               When making a payment by mail:
                               ● make a separate payment for each Account,              If we decide to accept a payment made in a foreign
                               ● mail your payment to the address shown on the          currency, we will choose a rate to convert your
                                 payment coupon on the billing statement, and           payment into U.S. dollars, unless the law requires us to
                               ● write the Account number on your check or              use a particular rate.
                                 negotiable instrument and include the payment
                                 coupon.                                                If we process a late payment, a partial payment, or a
                                                                                        payment marked with any restrictive language, that will
                               If your payment meets the above requirements, we         have no effect on our rights and will not change this
                               will credit it to the Account as of the day we receive   Agreement.
                               it, as long as we receive it by the time disclosed in

How we apply payments and      If a statement includes a Pay Over Time balance, it will show a Minimum Payment Due. The Minimum Payment
credits                        Due is the Pay In Full New Balance plus the Pay Over Time Minimum Due.
                               If you have a Pay Over Time balance, we generally apply payments--up to the Minimum Payment Due--first to
                               the Pay Over Time Minimum Due and then to the Pay In Full New Balance. When applying a payment to the
                               Pay Over Time Minimum Due, we apply it first to the balance with the lowest interest rate and then to balances
                               with higher interest rates.
                               After the Minimum Payment Due has been paid, we apply payments to the remaining Pay Over Time balance.
                               When we do this, we apply payments first to the balance with the highest interest rate and then to balances
                               with lower interest rates.
                               In most cases, we apply a credit to the same balance as the related charge. We may apply payments and
                               credits within balances, and among balances with the same interest rate, in any order we choose.
About your Minimum Payment Due
How we calculate your          The Minimum Payment Due is the Pay In Full amount plus any Pay Over Time Minimum Due. To calculate the
Minimum Payment Due            Pay Over Time Minimum Due for each statement, we start with the higher of:
                               (1) interest charged on the statement plus 1% of the     EXAMPLE: Assume that you have a Pay Over Time
                                 Pay Over Time New Balance (excluding interest          New Balance of $3,000, interest of $29.57, no amounts
                                 on the statement); or                                  past due, and a $400 Pay In Full amount.
                               (2) $35.
                                                                                        (1)$29.57 + 1% x ($3,000 - $29.57) = $59.27
                               Then we round to the nearest dollar and add              (2)$35
                               any Pay Over Time amount past due. Your Pay              The higher of (1) or (2) is $59.27, which rounds to
                               Over Time Minimum Due will not exceed your               $59.00. The Pay Over Time Minimum Due of $59.00
                               Pay Over Time New Balance. You may pay more              plus the Pay in Full amount of $400 together make up
                               than the Minimum Payment Due, up to your entire          the Minimum Payment Due of $459.00.
                               outstanding balance, at any time.




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About interest charges
When we charge interest         We charge interest on these transactions beginning on their transaction date until they are paid. However, we
                                will not charge interest on these transactions during a billing period if:
                                ● your Pay Over Time Previous Balance for the billing period is zero; or
                                ● you paid the Account Total Previous Balance for each of the previous two billing periods in full by the closing
                                  date shown on their respective statements.
How we calculate interest       We calculate interest for a billing period by first calculating interest on each balance within each feature.
                                Balances within each feature-such as Sign & Travel and Extended Payment Option-may have different interest
                                rates.
                                We use the Average Daily Balance method                   Daily Balance
                                (including new transactions) to calculate interest        For each day a DPR is in effect, we calculate the daily
                                charges for each balance. The total interest charged      balance by:
                                for a billing period is the sum of the interest charged   ● taking the beginning balance for the day,
                                on each balance.                                          ● adding any new charges,
                                                                                          ● subtracting any payments or credits; and
                                Interest                                                  ● making any appropriate adjustments.
                                The interest charged for a balance in a billing period,
                                                                                          We add a new charge to a daily balance as of its
                                except for variations caused by rounding, equals:
                                                                                          transaction date.
                                ● Average Daily Balance (ADB) x
                                ● Daily Periodic Rate (DPR) x                             Beginning balance
                                ● number of days the DPR was in effect.                   For the first day of a billing period, the beginning
                                                                                          balance is the ending balance for the prior billing
                                ADB                                                       period, including unpaid interest. For the rest of the
                                To get the ADB for a balance, we add up its daily         billing period, the beginning balance is the previous
                                balances. Then we divide the result by the number         day's daily balance plus an amount of interest equal
                                of days the DPR for that balance was in effect. If the    to the previous day's daily balance multiplied by the
                                daily balance is negative, we treat it as zero.           DPR for that balance. This method of calculating the
                                                                                          beginning balance results in daily compounding of
                                                                                          interest.
                                DPR
                                                                                          When an interest rate changes, the new DPR may
                                A DPR is 1/365th of an APR, rounded to one
                                                                                          come into effect during-not just at the beginning of-
                                tenthousandth of a percentage point. Your DPRs are
                                                                                          the billing period. When this happens, we will create a
                                shown in How Rates and Fees Work on page 2 of
                                                                                          new balance and apply the new DPR to it. To get the
                                Part 1.
                                                                                          beginning balance on the first day for this new balance,
                                EXAMPLE: Calculating Interest                             we multiply the previous day's daily balance by the old
                                Assume that you have a single interest rate of            DPR and add the result to that day's daily balance.
                                15.99%, your ADB is $2,250 and there are 30 days          Other methods
                                in the billing period.                                    To calculate the ADB and interest charges, we may
                                The DPR is 15.99%       365 days = 0.0438%                use other formulas or methods that produce equivalent
                                                                                          results. Also, we may choose not to charge interest on
                                The Interest is $2,250 x 0.0438% x 30 days =
                                                                                          certain types of charges.
                                $29.57


Determining the Prime Rate      We use the Prime Rate from the rates section of The Wall Street Journal. The Prime Rate for each billing
                                period is the Prime Rate published in The Wall Street Journal 2 days before the Closing Date of the billing
                                period.
                                The Wall Street Journal may not publish the Prime Rate on that day. If it does not, we will use the Prime Rate
                                from the previous day it was published. If The Wall Street Journal is no longer published, we may use the
                                Prime Rate from any other newspaper of general circulation in New York, New York. Or we may choose to use
                                a similar published rate.
                                If the Prime Rate increases, variable APRs (and corresponding DPRs) will increase. In that case, you may pay
                                more interest and may have a higher Minimum Payment Due. When the Prime Rate changes, the resulting
                                changes to variable APRs take effect as of the first day of the billing period.

Other important information
Changing the Agreement          We may change the terms of, or add new terms to,          This written Agreement is a final expression of the
                                this Agreement. We may apply any changed or new           agreement governing the Account. The written
                                terms to any existing and future balances on the          Agreement may not be contradicted by any alleged oral
                                Account, subject to applicable law.                       agreement.

Converting charges made in a    If you make a charge in a foreign currency, we will convert it into U.S. dollars on the date we or our agents
foreign currency                process it. Unless a particular rate is required by law, we will choose a conversion rate that is acceptable to us
                                for that date. The rate we use is no more than the highest official rate published by a government agency or the
                                highest interbank rate we identify from customary banking sources on the conversion date or the prior business
                                day. This rate may differ from rates that are in effect on the date of your charge. We will bill charges converted
                                by establishments (such as airlines) at the rates they use.

Changing your billing address   You must notify us immediately if you change the:
                                ● mailing address, email address, telephone numbers, or fax numbers that we use to send you billing
                                  statements, notices or other communications.
                                ● legal entity of the Company.
                                ● tax identification number.

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Closing your Account          You may instruct us to close the Account by calling The Basic Cardmember and the Company remain
                                   us or writing to us. The Basic Cardmember agrees         jointly and severally liable for all Charges made on the
                                   to inform the Company prior to instructing us to do      Account.
                                   so.

Cancelling or suspending your      We may:                                                  We may do any of these things at our discretion, even
Account                            ● cancel your Account,                                   if you pay on time and your Account is not in default.
                                   ● suspend the ability to make charges,                   If your Account is cancelled, you must destroy your
                                   ● cancel or suspend any feature on your Account,
                                                                                            cards.
                                     and
                                   ● notify merchants that your Account has been            We may agree to reinstate your Account after a
                                     cancelled or suspended.                                cancellation. If we do this, we may:
                                   If we do any of these, you must still pay us for all     ● reinstate any additional cards issued on your
                                   charges under the terms of this Agreement.                 Account,
                                                                                            ● charge you any applicable annual fees, and
                                                                                            ● charge you a fee for reinstating the Account.
About default                      We may consider your Account to be in default if:        If we consider your Account in default, we may:
                                   ● you violate a provision of this Agreement,             ● suspend your ability to make charges,
                                   ● you give us false information,                         ● cancel or suspend any feature on your Account,
                                   ● you file for bankruptcy,                               ● cancel the Account and require you to pay the
                                   ● you default under another agreement you have             Account balance immediately.
                                     with us or an affiliate,                               ● require you to pay more than your Minimum
                                   ● you become incapacitated or die, or                      Payment Due immediately.
                                   ● we believe you are unable or unwilling to pay
                                     your debts when due.
Collection costs                   You agree to pay all reasonable costs, including attorneys' fees, that we incur to collect amounts you owe or to
                                   protect ourselves from loss, harm or risk relating to default.

Credit reports                     You agree that we will obtain credit reports about you, investigate your ability to pay, and obtain information
                                   about you from other sources including information to verify and re-verify your employment and income. And
                                   you agree that we will use such information for any purposes, subject to applicable law.
                                   You agree that we will give information about the Account to credit reporting agencies. We will tell a credit
                                   reporting agency if you fail to comply with any term of this Agreement. This may have a negative impact on
                                   your credit report.
                                   If you believe information we have given to a credit reporting agency is incorrect, write to us at: American
                                   Express Credit Bureau Unit, P.O. Box 981537, El Paso, TX 79998-1537. When you write to us, tell us the
                                   specific information you believe is incorrect.

Sending you notices                We send you notices through the U.S. mail (postage prepaid) or electronically using the information in our
                                   records. Any notice we send you is deemed given when deposited in the U.S. mail or when sent electronically.
                                   Additionally, we may send notices and information to Additional Cardmembers at their request.

We may contact you                 Servicing and collections
                                   If we need to contact you to service your account or to collect amounts you owe, you authorize us (and our
                                   affiliates, agents and contractors) to contact you at any number you provide, from which you call us, or at which
                                   we believe we can reach you. We may contact you in any way, such as calling or texting. We may contact you
                                   using an automated dialer or prerecorded messages. We may contact you on a mobile, wireless or similar
                                   device, even if you are charged for it.
                                   Call monitoring
                                   We may monitor and record any calls between you and us.
About insurance products           We or our affiliates may tell you about insurance and non-insurance products, services or features that
                                   may have a fee. One of our affiliates may act on behalf of a provider of these products. The affiliate may be
                                   compensated for this. The insurance products are not offered or sold by us or on our behalf. Our affiliates may
                                   get additional compensation when AMEX Assurance Company or another affiliate is the insurer or reinsurer.
                                   Compensation may influence what products and providers we or our affiliates tell you about.
                                   We may share information about you with our affiliates so they can identify products that may interest you. We
                                   may be compensated for this information.

How we handle electronic           When you pay us by check, you authorize us to            If we do this, your payment may be deducted from
debits from your checking          electronically deduct the amount from your bank or       your bank or other asset account on the same day
account                            other asset account.                                     we receive your check. Also, you will not receive that
                                   We may process the check electronically by               cancelled check with your bank or asset account billing
                                   transmitting to your financial institution:              statement.
                                   ● the amount,                                            If we cannot collect the funds electronically, we may
                                   ● the routing number,                                    issue a draft against your bank or other asset account
                                   ● the account number, and
                                                                                            for the amount of the check.
                                   ● the check serial number.
ExpressPay                         Cards issued on the Account may be equipped with ExpressPay. ExpressPay enables you to make charges
                                   without having the card swiped or imprinted. You can call us to deactivate ExpressPay at any time. Also, we
                                   may deactivate ExpressPay at any time.




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Privacy Act of 1974 notice       Some federal agencies may accept the card under authority of statute. When you or Additional Cardmembers
                                           make charges at these agencies, we collect certain charge information. That information may be put to
                                           routine uses such as processing, billing and collections. It may also be aggregated for reporting, analysis and
                                           marketing use. Other routine uses by agencies may be published in the Federal Register.

Changing the benefits                      We have the right to add, modify or delete any benefit, service, or feature of the Account at our discretion.

Assigning the Agreement                    We may sell, transfer or assign this Agreement and the Account. We may do so at any time without notifying
                                           you. You may not sell, assign or transfer the Account or any of your obligations under this Agreement.

Assigning claims                           If you dispute a charge with a merchant, we may credit the Account for all or part of the disputed charge. If we
                                           do so, you assign and transfer to us all rights and claims (excluding tort claims) against the merchant. You and
                                           any Additional Cardmembers agree not to pursue any claim against the merchant for the credited amount. And
                                           you and any Additional Cardmembers must cooperate with us if we decide to do so.

We do not waive our rights                 We may choose to delay enforcing or to not exercise rights under this Agreement. If we do this, we do not
                                           waive our rights to exercise or enforce them on any other occasion.

Governing law                              Utah law and federal law govern this Agreement and the Account. They govern without regard to internal
                                           principles of conflicts of law. We are located in Utah. We hold the Account in Utah. We entered into this
                                           Agreement with you in Utah.

Notice to Oregon Residents                 Service charges not in excess of those permitted by law will be charged on the outstanding balances from
                                           month to month. You may pay more than the minimum payment due, up to your entire outstanding balance, at
                                           any time.

Notice for residents of                    In accordance with the Revised Code of Washington Statutes, Section 63.14.167, you are not responsible for
Washington State                           payment of interest charges that result solely from a merchant's failure to transmit to us within seven working
                                           days a credit for goods or services accepted for return or forgiven if you have notified us of the merchant's
                                           delay in posting such credit, or our failure to post such credit to your account within three working days of our
                                           receipt of the credit.



Claims Resolution
Most customer concerns can be resolved by              arbitration, you and we agree to send a written        If arbitration is chosen by any party,
calling our Customer Service Department at the         notice (a claim notice) to each party against          neither you nor we will have the right to
number listed on the back of your card. In the         whom a claim is asserted, in order to provide          litigate that claim in court or have a jury
event Customer Service is unable to resolve            an opportunity to resolve the claim informally or      trial on that claim. Further, you and we
a complaint to your satisfaction, this section         through mediation. Go to americanexpress.com/          will not have the right to participate in a
explains how claims can be resolved through            claim for a sample claim notice. The claim notice      representative capacity or as a member of
mediation, arbitration or litigation. It includes      must describe the claim and state the specific         any class pertaining to any claim subject
an arbitration provision. You may reject the           relief demanded. Notice to you may be provided         to arbitration. Arbitration procedures are
arbitration provision by sending us written            by your billing statement or sent to your billing      generally simpler than the rules that apply
notice within 45 days after your first card            address. Notice to us must include your name,          in court, and discovery is more limited. The
purchase. See Your Right to Reject Arbitration         address and Account number and be sent to              arbitrator's decisions are as enforceable
below.                                                 American Express ADR c/o CT Corporation                as any court order and are subject to very
For this section, you and us includes any              System, 111 8th Ave., NY, NY 10011. If the claim       limited review by a court. Except as set
corporate parents, subsidiaries, affiliates or         proceeds to arbitration, the amount of any relief      forth below, the arbitrator's decision will
related persons or entities. Claim means any           demanded in a claim notice will not be disclosed       be final and binding. Other rights you or
current or future claim, dispute or controversy        to the arbitrator until after the arbitrator rules.    we would have in court may also not be
relating to your Account(s), this Agreement, or        Mediation                                              available in arbitration.
any agreement or relationship you have or had          In mediation, a neutral mediator helps parties         Initiating Arbitration
with us, except for the validity, enforceability       resolve a claim. The mediator does not decide          Before beginning arbitration, you or we must
or scope of the Arbitration provision. Claim           the claim but helps parties reach agreement.           first send a claim notice. Claims will be referred
includes but is not limited to: (1) initial claims,    Before beginning mediation, you or we must             to either JAMS or AAA, as selected by the
counterclaims, crossclaims and third-party claims;     first send a claim notice. Within 30 days after        party electing arbitration. Claims will be
(2) claims based upon contract, tort, fraud,           sending or receiving a claim notice, you or we         resolved pursuant to this Arbitration provision
statute, regulation, common law and equity;            may submit the claim to JAMS (1-800-352-5267,          and the selected organization's rules in effect
(3) claims by or against any third party using         jamsadr.com) or the American Arbitration               when the claim is filed, except where those
or providing any product, service or benefit in        Association ("AAA") (1-800-778-7879, adr.org)          rules conflict with this Agreement. If we choose
connection with any account; and (4) claims that       for mediation. We will pay the fees of the             the organization, you may select the other
arise from or relate to (a) any account created        mediator.                                              within 30 days after receiving notice of our
under any of the agreements, or any balances on                                                               selection. Contact JAMS or AAA to begin an
any such account, (b) advertisements, promotions       All mediation-related communications are
                                                       confidential, inadmissible in court and not            arbitration or for other information. Claims
or statements related to any accounts, goods or                                                               also may be referred to another arbitration
services financed under any accounts or terms          subject to discovery.
                                                                                                              organization if you and we agree in writing or
of financing, (c) benefits and services related        All applicable statutes of limitation will be tolled   to an arbitrator appointed pursuant to section 5
to card membership (including fee-based or             until termination of the mediation. Either you or      of the Federal Arbitration Act, 9 U.S.C. §§ 1-16
free benefit programs, enrollment services and         we may terminate the mediation at any time.            (FAA).
rewards programs) and (d) your application for         The submission or failure to submit a claim to
any account. You may not sell, assign or transfer      mediation will not affect your or our right to elect   We will not elect arbitration for any claim you
a claim.                                               arbitration.                                           file in small claims court, so long as the claim
                                                                                                              is individual and pending only in that court.
Sending a Claim Notice                                 Arbitration                                            You or we may otherwise elect to arbitrate any
Before beginning a lawsuit, mediation or               You or we may elect to resolve any claim by            claim at any time unless it has been filed in
                                                       individual arbitration. Claims are decided by a        court and trial has begun or final judgment has
                                                       neutral arbitrator.                                    been entered.
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Either you or we may delay enforcing or not             If your claim is for $10,000 or less, you may           Your Right to Reject Arbitration
exercise rights under this Arbitration provision,       choose whether the arbitration will be conducted        You may reject this Arbitration provision by
including the right to arbitrate a claim, without       solely on the basis of documents, through a             sending a written rejection notice to us at:
waiving the right to exercise or enforce those          telephonic hearing, or by an in-person hearing.         American Express, P.O. Box 981556, El Paso,
rights.                                                 At any party's request, the arbitrator will provide     TX 79998. Go to americanexpress.com/reject
Limitations on Arbitration                              a brief written explanation of the award. The           for a sample rejection notice. Your rejection
If either party elects to resolve a claim by            arbitrator's award will be final and binding,           notice must be mailed within 45 days after your
arbitration, that claim will be arbitrated on           except for any right of appeal provided by the          first card purchase. Your rejection notice must
an individual basis. There will be no right or          FAA; however, any party will have 30 days to            state that you reject the Arbitration provision
authority for any claims to be arbitrated on            appeal the award by notifying the arbitration           and include your name, address, Account
a class action basis or on bases involving              organization and all parties in writing. The            number and personal signature. No one else
claims brought in a purported representative            organization will appoint a three-arbitrator panel      may sign the rejection notice. If your rejection
capacity on behalf of the general public, other         to decide anew, by majority vote based on               notice complies with these requirements, this
cardmembers or other persons similarly                  written submissions, any aspect of the decision         Arbitration provision and any other arbitration
situated.                                               objected to. Judgment upon any award may be             provisions in the cardmember agreements for
                                                        entered in any court having jurisdiction. At your       any other currently open American Express
The arbitrator's authority is limited to claims         election, arbitration hearings will take place in       accounts you have will not apply to you, except
between you and us alone. Claims may not be             the federal judicial district of your residence.        for Corporate Card accounts and any claims
joined or consolidated unless you and we agree                                                                  subject to pending litigation or arbitration at the
in writing. An arbitration award and any judgment       Arbitration Fees and Costs                              time you send your rejection notice. Rejection
confirming it will apply only to the specific case      You will be responsible for paying your share           of this Arbitration provision will not affect
and cannot be used in any other case except to          of any arbitration fees (including filing,              your other rights or responsibilities under this
enforce the award.                                      administrative, hearing or other fees), but only        Claims Resolution section or the Agreement.
Notwithstanding any other provision and without         up to the amount of the filing fees you would           Rejecting this Arbitration provision will not
waiving the right to appeal such decision, if any       have incurred if you had brought a claim in             affect your ability to use your card or any other
portion of these Limitations on Arbitration is          court. We will be responsible for any additional        benefit, product or service you may have with
deemed invalid or unenforceable, then the entire        arbitration fees. At your written request, we           your Account.
Arbitration provision (other than this sentence) will   will consider in good faith making a temporary
                                                        advance of your share of any arbitration fees,          Continuation
not apply.                                                                                                      This section will survive termination of your
                                                        or paying for the reasonable fees of an expert
Arbitration Procedures                                  appointed by the arbitrator for good cause.             Account, voluntary payment of your Account
This Arbitration provision is governed by the FAA.                                                              balance, any legal proceeding to collect a
The arbitrator will apply applicable substantive        Additional Arbitration Awards                           debt, any bankruptcy and any sale of your
law, statutes of limitations and privileges. The        If the arbitrator rules in your favor for an amount     Account (in the case of a sale, its terms will
arbitrator will not apply any federal or state          greater than any final offer we made before             apply to the buyer of your Account). If any
rules of civil procedure or evidence in matters         arbitration, the arbitrator's award will include: (1)   portion of this Claims Resolution section,
relating to evidence or discovery. Subject to the       any money to which you are entitled, but in no          except as otherwise provided in the Limitations
Limitations on Arbitration, the arbitrator may          case less than $5,000; and (2) any reasonable           on Arbitration subsection, is deemed invalid
otherwise award any relief available in court. The      attorneys' fees, costs and expert and other             or unenforceable, it will not invalidate the
arbitration will be confidential, but you may notify    witness fees.                                           remaining portions of this Claims Resolution
any government authority of your claim.                                                                         section.




Billing Dispute Procedure
What To Do If You Find a Mistake on Your                What Will Happen After We Receive Your                  After we finish our investigation, one of two
Statement                                               Letter                                                  things will happen:
If you think there is an error on your statement,       When we receive your letter, we will do two             ● If we made a mistake: You will not have to
write to us at:                                           things:                                                 pay the amount in question or any interest
      American Express                                  1. Within 30 days of receiving your letter, we will       or other fees related to that amount.
      PO Box 981535                                       tell you that we received your letter. We will        ● If we do not believe there was a mistake:
      El Paso TX 79998-1535                               also tell you if we have already corrected the          You will have to pay the amount in question,
In your letter, give us the following information:        error.                                                  along with applicable interest and fees. We
● Account information: Your name and account            2. We will investigate your inquiry and will either       will send you a statement of the amount you
    number.                                                                                                       owe and the date payment is due. We may
                                                          correct the error or explain to you why we
● Dollar amount: The dollar amount of the                                                                         then report you as delinquent if you do not
                                                          believe the bill is correct.                            pay the amount we think you owe.
    suspected error.
● Description of problem: If you think there is an                                                              If you receive our explanation but still believe
    error on your bill, describe what you believe is    While we investigate whether or not there has
                                                         been an error:                                         your bill is wrong, you must write to us within
    wrong and why you believe it is a mistake.                                                                  10 days telling us that you still refuse to pay. If
                                                        ● We will not try to collect the amount in
You must contact us:                                      question, nor report you as delinquent on             you do so, we will not report you as delinquent
● Within 60 days after the error appeared on your         that amount.                                          without also reporting that you are questioning
  statement.                                            ● The charge in question may remain on your             your bill. We will tell you the name of anyone
● At least 2 business days before an automated            statement, and we may continue to charge              to whom we reported you as delinquent, and
  payment is scheduled, if you want to stop               you interest on that amount.                          we will let those organizations know when the
  payment on the amount you think is wrong.             ● While you do not have to pay the amount               matter has been settled between us.
You must notify us of any potential errors in             in question, you are responsible for the
writing. You may call us, but if you do we are not        remainder of your balance.
required to investigate any potential errors and        ● We can apply any unpaid amount against
you may have to pay the amount in question.               your credit limit.

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Your Agreement for Transferring Funds Electronically
This EFT Agreement is between American                 You can get a receipt from the ATM each time              There are some exceptions. We are not liable:
Express Travel Related Services Company, Inc.          you withdraw money from your bank account                 ● if, through no fault of ours, you do not have
and you, once you enroll in an Electronic Funds        using Express Cash.                                         enough money in your bank account;
Transfer Service of ours (service) such as                                                                       ● if the transfer would go over the credit limit on
                                                       Your monthly statement for your card account
AutoPay, Pay By Computer, or Pay By Phone.                                                                         any overdraft line you may have;
                                                       will show any Express Cash transactions in that           ● if the ATM where you are making the transfer
This replaces any previous agreement you may           billing period.
have with us for the services.                                                                                     does not have enough cash;
Words we use in this agreement                         AutoPay, Pay By Computer, Pay By Phone                    ● if the funds in your bank account
                                                       With these services, you can initiate electronic            were subject to legal process or other
In this EFT Agreement, you and your mean,
                                                       payments to your card account. When you do                  encumbrance that restricted the transaction;
in addition to the Basic Cardmember, any                                                                         ● if circumstances beyond our control (such
Additional Cardmembers who have enrolled in            so, you allow us or our agent to draw a check on
                                                       or initiate an automated clearing house (ACH)               as fire or flood) prevented the transaction,
the service. We, our, and us mean American                                                                         despite our reasonable precautions; or
Express Travel Related Services Company,               withdrawal from your bank account in the amount
                                                       you authorize.                                            ● if the terminal or system was not working
Inc. Your card account means the American                                                                          properly and you knew about the breakdown
Express card account. Your bank is the bank,           If your bank returns a check or ACH withdrawal              when you started the transfer.
securities firm, or other financial institution that   unpaid the first time we submit it for payment, we
                                                                                                                 Privacy
holds your bank account. Your bank account             may cancel your right to use the service. Your
                                                                                                                 We will disclose information to third parties
is the bank account you use to pay for any             bank may charge you a fee if this happens.
                                                                                                                 about your transactions:
transactions you make through the service.             How to stop AutoPay payments                              ● when necessary for completing transactions;
Withdraw or withdrawal means an electronic             The following terms do not apply to certain               ● to comply with government agency or court
debit or deduction of funds from your bank             AutoPay programs and options where a business                orders; or
account. Our business days are Monday                  bank account is used for the transaction; and the         ● as stated in our Privacy Notice, which covers
through Friday, excluding holidays.                    specific terms and conditions of those programs              your use of the services.
How Express Cash works                                 and options will define any applicable notice and         Arbitration
Express Cash enables you to withdraw cash              cancelation terms:                                        The Arbitration section, in Part 2 of the
from your bank account at participating                (1) If you have told us to make AutoPay                   Cardmember Agreement, applies to this EFT
automated teller machines (ATMs). If you enroll        payments from your bank account, you can                  Agreement and the services.
in Express Cash, we will issue or allow you to         stop any of these payments by calling us at
                                                                                                                 How to contact us about the services
choose a Personal Identification Number (PIN).         1-800-227-4669 or writing to American Express,
                                                                                                                 You can call us at 1-800-IPAY-AXP for Pay By
You must use this PIN along with your card             Electronic Funds Services, P.O. Box 981540, El
                                                                                                                 Phone questions, at 1-800-528-2122 for Pay
when withdrawing cash from an ATM. Keep                Paso, TX 79998-1540 in time for us to receive
                                                                                                                 By Computer questions, at 1-800-528-4800
your PIN confidential.                                 your request at least 2 business days before the
                                                                                                                 for AutoPay questions, and at 1-800-CASH-
Each time you withdraw cash using Express              payment is scheduled to be made.
                                                                                                                 NOW for Express Cash questions. You may
Cash, we will charge a fee of 3% of the amount         (2) We will tell you, at least 10 days before each
                                                                                                                 also write to us at American Express, Electronic
of the transaction or $5, whichever is more. The       payment, when it will be made and how much it
                                                                                                                 Funds Services, P.O. Box 981531, El Paso, TX
amount of the transaction is the total of the:         will be.
                                                                                                                 79998-1531.
● amount of the withdrawal or funds transfer,          (3) If we receive your request to stop one of
                                                       these payments at least 2 business days before            In case of errors or questions
● amount of goods or services received, and
                                                       the payment is scheduled to be made and we                If you think your statement or receipt is wrong,
● any fee charged by the ATM operator or
    network used for the withdrawal.                   do not stop it, we will be liable for your losses or      or if you need more information about a
                                                       damages.                                                  transaction on your statement or receipt, call
The amount of the transaction and the fee that                                                                   or write us as soon as you can. We must hear
we charge will be withdrawn from your bank             Unauthorized transactions
                                                                                                                 from you no later than 60 days after we sent the
account.                                               Tell us AT ONCE if you believe your card or
                                                                                                                 FIRST statement on which the problem or error
                                                       PIN has been lost, stolen or used without your
For each withdrawal made in a foreign currency,                                                                  appeared. If you do not contact us because of
                                                       permission, or if you believe that a transaction
we charge a fee of 2.7% of the converted U.S.                                                                    certain circumstances (such as you are in the
                                                       has been made without your permission. Calling
dollar amount of the transaction. This fee will be                                                               hospital), we may extend the 60-day period for a
                                                       is the best way of keeping your possible losses
withdrawn from your bank account. However,                                                                       reasonable time. When you contact us:
                                                       down. You could lose all the money in your                ● tell us your name and account number.
we do not charge this fee for ATM withdrawals
                                                       bank account (plus your maximum overdraft                 ● describe the error or the transaction you are
made using cards issued on U.S. Consumer
                                                       line of credit, if applicable). If you tell us within 2       unsure about. Explain as clearly as you can
or OPEN Platinum Card or Centurion Card
                                                       business days after you learn of the loss, theft or           why you believe it is an error or why you
accounts. See Converting charges made in a
                                                       unauthorized use of your card or PIN, you can                 need more information.
foreign currency in Part 2 of the Cardmember
                                                       lose no more than $50 if someone used your                ● tell us the amount of the suspected error.
Agreement.
                                                       card or PIN without your permission.                      If you tell us orally, we may require that you
If a transaction is not honored by your bank, we
                                                       If you do NOT tell us within 2 business days              send us your complaint or question in writing
will charge the amount of the transaction and
                                                       after you learn of the loss or theft of your card or      within 10 business days after you called us.
a fee of $38 to your card account, or we may
                                                       PIN, and we can prove we could have stopped               Within 10 business days after we hear from
collect them directly from you.
                                                       someone from using your card or PIN without               you we will determine whether an error has
Limits on amounts and frequency of                     your permission if you had told us, you could lose        occurred. We will correct any error promptly.
withdrawals                                            as much as $500.                                          However, if we need more time, we may take
We apply the following limits to the amount                                                                      up to 45 calendar days to investigate. If we do
                                                       Tell us if you believe that someone has used
that can be withdrawn in a 30-day period. In                                                                     take more time, we will credit your bank account
                                                       or may use your card or PIN to use the EFT
addition, there is a limit of 7 withdrawals in a                                                                 within 10 business days for the amount you
                                                       service without your permission. Call anytime
single day (regardless of the dollar amount of                                                                   think is in error so that you will have use of the
                                                       at 1-800-528-4800 (or 1-336-393-1111 collect,
such withdrawals). The ATM operator may also                                                                     funds during the time it takes to complete our
                                                       if not in the U.S.). You may also write to us at
impose limits.                                                                                                   investigation.
             ®                                         American Express, Electronic Funds Services,
Plum Card           $3,000 in a 30-day period
                                                       P.O. Box 981532, El Paso, TX 79998-1532.                  If we ask you to put your complaint or question
Green Card          $3,000 in a 30-day period
                                                       Improper transactions or payments                         in writing and we do not receive it within 10
Gold Card           $8,500 in a 30-day period                                                                    business days, we may not credit your bank
                                                       If we do not complete a transfer to or from your
Exec. Bus. Card $8,500 in a 30-day period                                                                        account for the amount you question.
               ®                                       bank account on time or in the correct amount,
Platinum Card       $10,000 in a 30-day period
                                                       according to this EFT Agreement, we will be               We will tell you the results within 3 business
Centurion Card $10,000 in a 30-day period
           ®
                                                       liable for your losses or damages.                        days after completing our investigation. If we
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decide that there was no error, we will send you a     We will end or suspend use of a service if:        Except as explained in this EFT Agreement,
written explanation. You may ask for copies of the     ● you do not use it for 18 months in a row,        if you initiate an electronic funds transfer from
documents that we used in our investigation. If we     ● your card account is in default,                 your bank account, you cannot stop payment of
have credited your bank account and find no error,     ● your card account is cancelled or                the transfer.
we will tell you when we will withdraw that amount       suspended,                                       Unless otherwise provided in
from your bank account again. You authorize us to      ● you cancel the authorization you gave your
                                                         bank to pay for any transactions you make        this EFT Agreement, you may not
withdraw this amount from your bank account. If
your bank account does not have enough funds to          through the service, or                          stop payment of electronic funds
                                                       ● your bank account is closed to withdrawals       transfers. Therefore, do not use
cover this withdrawal, we can charge the amount to
                                                         by us or our agents.
your card account or collect the amount from you.                                                         electronic transfers for purchases
If this happens, we may cancel your right to use a     You may choose to stop using any service.
                                                       If you do, you must write to us at American        or service unless you are satisfied
service.
                                                       Express, Electronic Funds Services, P.O. Box       that you will not need to stop
We may end the services
                                                       981531, El Paso, TX 79998-1531.                    payment.
We, or any bank or financial institution that
participates in the Express Cash service, may add      Assignment                                         Disclosure of bank account information
to or remove any ATMs from the service. We may         We may assign this EFT Agreement to a              to third parties: If you give us your written
extend or limit the services at any location without   subsidiary or affiliate at any time.               authorization to disclose information about you,
telling you ahead of time. Also, we may stop a         Note for Massachusetts residents                   your bank account, or the transactions that
service at any time.                                   General disclosure statement: Any                  you make to any person, that authorization will
We may cancel your participation in a service at       documentation given to you which shows that        automatically expire 45 days after we receive it.
any time. If we do, we will write to you, but we may   an electronic funds transfer was made will be      Optional limit on obtaining cash: You can
not send you the notice until after we cancel. Also,   admissible as evidence of that transfer and will   ask us to limit the total amount of cash that
we may refuse to authorize a transaction at our        constitute prima facie proof that the transfer     you may get from ATMs in a single day to
discretion.                                            was made.                                          $50. If you choose this option, we will take all
                                                                                                          reasonable steps to comply with your request.




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   FACTS             WHAT DOES AMERICAN EXPRESS DO WITH YOUR PERSONAL INFORMATION?


Why?               Financial companies choose how they share your personal information. Federal law gives consumers
                   the right to limit some but not all sharing. Federal law also requires us to tell you how we collect,
                   share, and protect your personal information. Please read this notice carefully to understand what we
                   do.
What?              The types of personal information we collect and share depend on the product or service you have
                   with us. This information can include:
                       ●
                          Social Security number and income
                       ●
                          transaction history and account history
                       ●
                          insurance claim history and credit history
How?               All financial companies need to share customers' personal information to run their everyday business.
                   In the section below, we list the reasons financial companies can share their customers' personal
                   information; the reasons American Express chooses to share; and whether you can limit this sharing.


                                                                Does American
Reasons we can share personal information                       Express share? Can you limit this sharing?

For our everyday business purposes –                                    Yes                             No
such as to process your transactions, maintain your
account(s), respond to court orders and legal investigations,
or report to credit bureaus
For our marketing purposes –                                            Yes                             No
to offer our products and services to you                                               (but please see the "To limit direct
                                                                                       marketing" box below for information
                                                                                         about additional privacy choices)
For joint marketing with other financial companies                      Yes                             No
For our affiliates' everyday business purposes –                        Yes                             No
information about your transactions and experiences
For our affiliates' everyday business purposes –                        Yes                            Yes
information about your creditworthiness
For our affiliates to market to you                                     Yes                            Yes
                                                                        No
                                                                 (although we may We don't share personal information
For nonaffiliates to market to you
                                                                share aggregated or
                                                                 de-identified data)

                      ●
To limit our            Visit us online: www.americanexpress.com/communications or
                      ●
sharing                 Call 1-855-297-7748 - our menu will prompt you through your choice(s)
                   Please note:
                   If you are a new customer, we can begin sharing your personal information 30 days from the date
                   we sent this notice. When you are no longer our customer, we continue to share your personal
                   information as described in this notice.
                   However, you can contact us at any time to limit our sharing.
To limit direct    We provide additional privacy choices to customers. Privacy elections you make for any one product
marketing          or service may not automatically be applied to other products and services. To let us know if you do
                   not want us to use your personal information to communicate with you about offers by mail, telephone,
                   and/or e-mail:
                      ●
                         Visit us online: www.americanexpress.com/communications or
                      ●
                         Call 1-855-297-7748 (except for choices about e-mail communications)
Questions?         Call 1-800-528-4800 or go to www.americanexpress.com/contact.


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Who we are
Who is providing this       American Express Travel Related Services Company, Inc. and other American Express
Notice                      Affiliates that provide financial products or services, including American Express Centurion
                            Bank, American Express Bank, FSB, and AMEX Assurance Company.
What we do
How does American           To protect your personal information from unauthorized access and use, we use security
Express protect my          measures that comply with federal law. These measures include computer safeguards and
personal information?       secured files and buildings.
How does American           We collect your personal information, for example, when you
Express collect my             ●
                                  open an account or pay your bills
personal information?          ●
                                  give us your income information or give us your contact information
                               ●
                                  use your credit card
                            We also collect your personal information from others, such as credit bureaus, affiliates, or
                            other companies.
Why can't I limit all       Federal law gives you the right to limit only
sharing of personal            ●
                                  sharing for affiliates' everyday business purposes - information about your
information?                      creditworthiness
                               ●
                                  affiliates from using your information to market to you
                               ●
                                  sharing for nonaffiliates to market to you
                            State laws and individual companies may give you additional rights to limit sharing. See
                            below for more on your rights under state law.
What happens when           Your choices will apply to everyone on your account.
I limit sharing for an
account I hold jointly
with someone else?


Definitions
Affiliates        Companies related by common ownership or control. They can be financial and nonfinancial
                  companies.
                    ●
                      Our affiliates include companies with the American Express name, including financial companies
                      such as American Express Travel Related Services Company, Inc. and nonfinancial companies
                      such as American Express Publishing. Affiliates may also include other companies related by
                      common ownership or control, such as Serve Virtual Enterprises, Inc. and AMEX Assurance
                      Company, a provider of American Express Card-related insurance services.
Nonaffiliates     Companies not related by common ownership or control. They can be financial and nonfinancial
                  companies.
                    ●
                      Nonaffiliates with which we share personal information include service providers, including, for
                      example, direct marketers, that perform services or functions on our behalf.
Joint marketing A formal agreement between nonaffiliated companies that together market financial products or
                services to you.
                   ●
                      Our joint marketing partners include financial companies.

Other important information
We may transfer personal information to other countries, for example, for customer service or to process transactions.
AMEX Assurance Company customers. You may have the right to access and correct recorded personal information.
Personal information may be disclosed by us to detect fraud or misrepresentation, to verify insurance coverage, to
an insurance regulatory authority, law enforcement or other governmental authority pursuant to law, or to a group
policyholder for purposes of reporting claims experience or conducting an audit. Personal information related to
insurance claim activity obtained from a report prepared by an insurance-support organization on our behalf may be
retained by such organization and disclosed as required by law. State law may be more protective than federal law.
California: If your American Express account has a California billing address, we will not share your personal information
except to the extent permitted under California law.
Vermont: If your American Express account has a Vermont billing address, we will automatically treat your account as if
you have directed us not to share information about your creditworthiness with our Affiliates.


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                                    Cardmember Agreement: Part 1 of 2                                    As of: 03/07/2021
Blue Cash Everyday®
Cardmember Name: Bethany Mockerman
Credit Limit: $1,000 (Cash Advance Limit: $200)                                               Account Ending In: 11009
Rates and Fees Table                                                              Issuer: American Express National Bank
Interest Rates
Annual Percentage Rate
(APR) for Purchases
                              0.00% introductory APR through your billing period that ends in June, 2022.
                             After that, your APR will be      23.99%. This APR will vary with the market based on the
                             Prime Rate.
APR for Balance Transfers 23.99% for any balance transfer requests we may accept. Balance transfers are not
                          available.
                             This APR will vary with the market based on the Prime Rate.
APR for Cash Advances     25.24%
                             This APR will vary with the market based on the Prime Rate.
Penalty APR and When it   29.24%
Applies                      This APR will vary with the market based on the Prime Rate.
                             This APR may be applied to your account if:
                                 1) you make one or more late payments; or
                                 2) your payment is returned by your bank.
                                  We may also consider your creditworthiness in determining whether or not to apply the
                                  penalty APR to your Account.
                                  How Long Will the Penalty APR Apply? If the penalty APR is applied, it will apply for
                                  at least 6 months. We will review your Account every 6 months after the penalty APR is
                                  applied. The penalty APR will continue to apply until you have made timely payments with
                                  no returned payments during the 6 months being reviewed.
Paying Interest                Your due date is at least 25 days after the close of each billing period. We will not charge
                               you interest on purchases if you pay each month your entire balance (or, if you have a
                               plan outstanding, your balance adjusted for plans) by the due date. We will begin charging
                               interest on cash advances and balance transfers on the transaction date.
Plan Fee (Fixed Finance        0.00% introductory monthly plan fee on each purchase amount moved into a plan through
Charge)                        your billing period that ends in June, 2022. After that, your monthly plan fee will be up to
                               1.33% of each purchase amount moved into a plan based on the plan duration, the APR
                               that would otherwise apply to the purchase, and other factors.
For Credit Card Tips from      To learn more about factors to consider when applying for or using a credit card, visit
the Consumer Financial         the website of the Consumer Financial Protection Bureau at
Protection Bureau              http://www.consumerfinance.gov/learnmore
Fees
Annual Membership Fee          None
Transaction Fees
● Balance Transfer             Either $5 or 3% of the amount of each transfer, whichever is greater. Balance transfers are
                               not available.
●   Cash Advance               Either $10 or 5% of the amount of each cash advance, whichever is greater.
●   Foreign Transaction        2.7% of each transaction after conversion to US dollars.
Penalty Fees
● Late Payment                 Up to $40.
● Returned Payment             Up to $40.
● Overlimit                    None
    How we calculate interest: We use the Average Daily Balance method (including new transactions). See the How we
                               calculate interest section in Part 2.
    Loss of Introductory APR: We may end your Introductory APR and apply the penalty APR if you do not pay the
                               Minimum Payment Due within 60 days after its Payment Due Date.
          Your Billing Rights: See Part 2 for information on how to exercise your rights to dispute transactions.



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How Rates and Fees Work
Rates
Calculating                     The Annual Percentage Rate (APR) for variable rates is determined by adding an amount (margin) to
APRs and DPRs                   the Prime Rate (see Determining the Prime Rate in Part 2). The Daily Periodic Rate (DPR) is 1/365th of
                                the APR, rounded to one ten-thousandth of a percentage point.

                                                Rate Description          Prime + Margin         APR                  DPR
                                            Introductory Purchase         n/a                    0.00%                0.0000%
                                                         Purchase         Prime + 20.74%         23.99%               0.0657%
                                                 Balance Transfer         Prime + 20.74%         23.99%               0.0657%
                                                    Cash Advance          Prime + 21.99%         25.24%               0.0692%
                                                          Penalty        Prime + 25.99%*        29.24%               0.0801%
                                *The variable penalty APR will not exceed 29.99%
Penalty APR for new             The penalty APR may apply to new transactions if: If the penalty APR applies to a balance, it will
transactions                      ● you do not pay at least the Minimum Payment apply to charges added to that balance 15 or
                                    Due by the Payment Due Date on one or            more days after we send you notice.
                                    more occasions; or                               We will review your Account every 6 months after
                                  ● your payment is returned by your bank.           the penalty APR is applied. The penalty APR
                                                                                     will continue to apply until you have made timely
                                We may also consider your creditworthiness in        payments with no returned payments during the 6
                                determining whether or not to apply the penalty      months being reviewed.
                                APR to your Account.
Fees
We add fees to a purchase balance, unless we tell you otherwise.
Annual Membership            This fee is on the Rates and Fees Table on page 1 of Part 1.
Plan Fee                     Up to 1.33% of each purchase amount moved into a plan based on the plan duration, the APR that
                             would otherwise apply to the purchase amount(s), and other factors. This fee is a fixed finance charge
                             that will be charged each month that a plan is active. The dollar amount of your plan fee will be
                             disclosed when you set up a plan. For more information, see About the Plan It Feature in Part 2 of your
                             Cardmember Agreement.
Late Payment                 Up to $40. If we do not receive the Minimum Payment Due by its Payment Due Date, the fee is $29. If
                             this happens again within the next 6 billing periods, the fee is $40. However, the late fee will not exceed
                             the Minimum Payment Due. Paying late may also result in a penalty APR. See Penalty APR for new
                             transactions above.
Returned Payment             Up to $40. If you make a payment that is returned unpaid the first time we present it to your bank, the
                             fee is $29. If you do this again within the same billing period or the next 6 billing periods, the fee is $40.
                             However, the returned payment fee will not exceed the applicable Minimum Payment Due. A returned
                             payment may also result in a penalty APR. See Penalty APR for new transactions above.
Returned Check               $38 if you use your card to cash a check at one of our approved locations and the check is returned
                             unpaid. We will also charge you the unpaid amount.
Overlimit                    None. See Credit limit and cash advance limit in Part 2.
Account Re-opening           $25 if your Account is cancelled, you ask us to re-open it, and we do so.
Balance Transfer             3% of the transaction, with a minimum of $5. A different fee may apply if stated in a promotional offer
                             or at the time of a transaction. This fee is a finance charge. We will add it to the same balance as the
                             balance transfer. Balance transfers are not available.
Cash Advance                 5% of the cash advance transaction (including fees charged by the ATM operator, if any), with a
                             minimum of $10. We will add this fee to the Cash Advance balance.
Foreign Transaction          2.7% of the converted U.S. dollar amount. This fee is a finance charge. See Part 2 for Converting
                             charges made in a foreign currency.
             Part 1, Part 2 and any supplements or amendments make up your Cardmember Agreement.




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                                    Supplement to the Cardmember Agreement

How Your Reward Program Works
                         ®
Blue Cash Everyday
How you earn reward                                   ®                                 Merchants are assigned codes based on what
                             You will earn Blue Cash Reward Dollars (reward
dollars                      dollars) for eligible purchases on your Blue Cash          they primarily sell. We group certain merchant
                                       ®                                                codes into categories that are eligible for
                             Everyday Card Account. The number of reward
                                                                                        additional rewards. A purchase with a merchant
                             dollars you earn is based on a percentage of the
                                                                                        will not earn additional rewards if the merchant's
                             dollar amount of your eligible purchases during the
                                                                                        code is not included in a reward category. You
                             billing period. Eligible purchases are purchases
                                                                                        may not receive additional rewards if we receive
                             made on your Card for goods and services minus
                                                                                        inaccurate information or are otherwise unable
                             returns and other credits.
                                                                                        to identify your purchase as eligible for a reward
                                                                                        category. For example, you may not receive
                             Eligible purchases do NOT include:                         additional rewards when:
                             ● fees or interest charges,                                ● a merchant uses a third-party to sell their
                             ● balance transfers,                                          products or services; or
                             ● cash advances,                                           ● a merchant uses a third-party to process or
                             ● purchases of traveler's checks,                             submit your transaction to us (e.g., using
                             ● purchases or reloading of prepaid cards,                    mobile or wireless card readers); or
                             ● purchases of any cash equivalents, or                    ● you choose to make a purchase using a third-
                             ● person-to-person transactions.                              party payment account or make a purchase
                                                                                           using a mobile or digital wallet.
                             You will earn a reward of:                                 For questions about additional rewards on a
                             ● 3% on the first $6,000 of eligible purchases in          purchase, call the number on the back of your
                               a calendar year at supermarkets located in the           Card. Please visit americanexpress.com/
                               U.S. (superstores and warehouse clubs are not            rewards-info for more information about
                               considered supermarkets);                                rewards.
                             ● 2% on eligible purchases of gasoline at gas
                               stations located in the U.S. (superstores,
                               supermarkets and warehouse clubs that sell
                               gasoline are not considered gas stations);
                             ● 2% on eligible purchases at select major
                               department stores located in the U.S. (The
                               current list of select major department stores at
                               which you can earn a 2% reward is available at
                               americanexpress.com/rewards-info); and
                             ● 1% on all other eligible purchases.
When you will not earn       You will not earn reward dollars for eligible              Credits for eligible purchases will reduce the
reward dollars               purchases posted to your Card Account during a             number of reward dollars you earn.
                             billing period if the Minimum Payment Due shown on
                             the statement for that billing period is not paid by the
                             Closing Date of the next billing period.

How you can redeem           You can redeem reward dollars for statement credits        From time to time we may, at our option, offer
reward dollars               whenever your total available reward dollar balance        you other ways to redeem reward dollars, such
                             is 25 or more. The statement credit will appear on         as for gift cards or merchandise. The minimum
                             your Card Account within 3 days and will apply to the      redemption is 25 reward dollars.
                             billing period in which it appears. Reward Dollars         You cannot redeem reward dollars if your Card
                             redeemed for a statement credit cannot be used to          Account is cancelled or past due.
                             pay your Minimum Payment Due.
                             Redemption will be in the form of a statement credit
                             of $1 for every reward dollar redeemed. Partial
                             reward dollar redemptions will receive an equivalent
                             statement credit amount (e.g., 32.11 reward dollars
                             can be redeemed for a $32.11 statement credit).
When you will forfeit        You will forfeit your entire reward dollar balance if your Card Account is cancelled for any reason.
reward dollars




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The Reward Dollars        The reward dollars shown on your billing statement      If a credit to your Card Account places your
Summary                   under the heading Reward Dollars Summary is only        eligible purchases in a negative status, the
                          for informational purposes. It does not show the        Reward Dollars Summary on your billing
                          actual reward dollars that you may be entitled to       statement will show a negative balance. It will
                          receive. For example, a credit for eligible purchases   continue to show a negative balance until you
                          posted to your Card Account can lower the reward        accumulate eligible purchases exceeding the
                          dollars shown.                                          negative eligible purchases.
Other things you should   You will only receive rewards for eligible purchases    We may change the terms of this program at our
know about this program   for personal, family or household use.                  discretion. If you violate or abuse this program,
                          Reward dollars are redeemable for rewards as            you may forfeit some or all of your accrued
                          described above, they are not cash.                     reward dollars.




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                                                                                                                  27896
Detail of Changes to Your Cardmember Agreement
This notice amends your American Express Cardmember Agreement ("Cardmember Agreement") as described below.
Any terms in the Cardmember Agreement conflicting with these changes are completely replaced. Terms not changed by
this notice continue to apply. If you have any questions, please call the number on the back of your Card.

Effective for Billing Periods having Payment Due Dates on or after May 1, 2021, your Cardmember Agreement will
be amended as follows:

The Supplement to the Cardmember Agreement is amended by deleting the When you will not receive reward dollars
section and replacing it with the following:

 When you will not receive        You will not receive reward dollars for         Credits for eligible purchases will
 reward dollars                   eligible purchases posted to your Card          reduce the number of reward dollars
                                  Account during a billing period if the          you receive.
                                  Minimum Payment Due shown on the
                                  statement for that billing period is not paid
                                  by the Payment Due Date shown on that
                                  statement.




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                                 Cardmember Agreement: Part 2 of 2

How Your American Express Account Works
Introduction
About your Cardmember     This document together with Part 1 make up the                When you use the Account (or you sign or keep the
Agreement                 Cardmember Agreement (Agreement) for the Account              card), you agree to the terms of the Agreement.
                          identified on page 1 of Part 1. Any supplements or
                          amendments are also part of the Agreement.

Changing the Agreement    We may change this Agreement, subject to applicable           Changes to some terms may require 45 days
                          law. We may do this in response to the business, legal or     advance notice, and we will tell you in the notice if
                          competitive environment. This written Agreement is a final    you have the right to reject a change. We cannot
                          expression of the agreement governing the Account. The        change certain terms during the first year of your
                          written Agreement may not be contradicted by any alleged      Cardmembership.
                          oral agreement.
                          We cannot increase the interest rate on existing balances
                          except in limited circumstances.

Words we use in           We, us, and our mean the issuer shown on page 1 of            A purchase is a charge for goods, services, or
the Agreement             Part 1. You and your mean the person who applied for          person-to-person transactions. A cash advance is
                          this Account and for whom we opened the Account. You          a charge to get cash or cash equivalents, including
                          and your also mean anyone who agrees to pay for this          travelers cheques, gift cheques, foreign currency,
                          Account. You are the Basic Cardmember. You may                money orders, digital currency, casino gaming chips,
                          request a card for an Additional Cardmember (see About        race track wagers, similar offline and online betting
                          Additional Cardmembers in Part 2).                            transactions, precious metal coins or bullion and
                                                                                        digital precious metals products. A balance transfer
                          Card means any card or other device that we issue to          is a charge to pay an amount you owe on another
                          access your Account. A charge is any amount added             credit card account. A person-to-person transaction
                          to your Account, such as purchases, cash advances,            is a charge for funds sent to another person or a
                          balance transfers, fees and interest charges.                                                          ™
                                                                                        charge to add funds to your Amex Send Account.
                                                                                        A plan is a portion of your account balance that you
                                                                                        have selected to pay over time through a set number
                                                                                        of monthly payments using Plan It.
                                                                                        To pay by a certain date means to send your payment
                                                                                        so that we receive it and credit it to your Account by
                                                                                        that date (see About your payments in Part 2).

About using your card
Using the card            You may use the card to make purchases. At our                We may (but are not required to) tell these merchants
                          discretion, we may permit you to create plans, make           and third parties if your expiration date or card
                          cash advances or balance transfers. You cannot transfer       number changes or if your account status is updated,
                          balances from any other account issued by us or our           including if your account is cancelled. If you do not
                          affiliates.                                                   want us to share your updated account information,
                                                                                        please contact us using the number on the back of
                          You may arrange for certain merchants and third parties       your card.
                          to store your card number and expiration date, so that, for
                          example:                                                      Keep your card safe and don't let anyone else use it.
                          ● the merchant may charge your account at regular             If your card is lost or stolen or your Account is being
                            intervals; or                                               used without your permission, contact us right away.
                          ● you may make charges using that stored card                 You may not use your Account for illegal activities.
                            information.
Promise to pay            You promise to pay all charges, including:
                          ● charges you make, even if you do not present your card or sign for the transaction,
                          ● charges that other people make if you let them use your Account, and
                          ● charges that Additional Cardmembers make or permit others to make.
Credit limit and cash     We assign a Credit Limit to your Account. We may make         ● your Account balance (including fees and interest)
advance limit             part of your Credit Limit available for cash advances (Cash     is not more than your Credit Limit, and
                          Advance Limit). There may also be a limit on the amount       ● your cash advance balance (including fees and
                          you can withdraw from ATMs in a given period. The Credit        interest) is not more than your Cash Advance
                          Limit and Cash Advance Limit are shown on page 1 of             Limit.
                          Part 1 and on each billing statement.                         We may approve charges that cause your Account
                                                                                        balance to go over your Credit Limit. If we do this,
                          We may increase or reduce your Credit Limit and Cash          we will not charge an overlimit fee. If we ask you to
                          Advance Limit. We may do so even if you pay on time and       promptly pay the amount of your Account balance
                          your Account is not in default.                               above your Credit Limit, you agree to do so.
                          You agree to manage your Account so that:



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Limits on person-to-person Your person-to-person transactions may not exceed the You agree to manage your Account so that the total
transactions                  $2,000 person-to-person transactions limit within any 30-       of your person-to-person transactions in any 30-day
                              day period.                                                     period do not exceed the limit on person-to-person
                                                                                              transactions.
                                                                                              We may not approve a person-to-person transaction if
                                                                                              it would cause your Account to exceed the person-to-
                                                                                              person transaction limit or your Credit Limit.
Declined transactions         We may decline to authorize a charge. Reasons we may            and your Account is not in default. We are not
                              do this include suspected fraud and our assessment of           responsible for any losses you incur if we do not
                              your creditworthiness. This may occur even if the charge        authorize a charge. And we are not responsible if any
                              would not cause you to go over your Credit Limit                merchant refuses to accept the card.

About the Plan It feature     We may offer you Plan It, which allows you to create a          Your ability to initiate plans will be based on a variety
                              payment plan for qualifying purchases or a qualifying           of factors such as your creditworthiness or your
                              amount, subject to a plan fee. This fee is a fixed finance      Credit Limit. You will not be able to initiate plans if
                              charge that will be charged each month that a plan is           your Account is cancelled. You will also not be able
                              active.                                                         to initiate plans if one or more of your American
                              You may use this feature by selecting qualifying purchases      Express accounts is enrolled into a debt management
                              or a qualifying amount and a plan duration. You will be         program, or has a payment that is returned unpaid,
                              able to view the monthly plan payments, including the plan      or is delinquent. We will tell you the number of active
                              fee, for your selection. Each plan fee will be disclosed        plans you may have and we may change this number
                              prior to your establishing the applicable plan and will be      at any time. The plan durations offered to you, and
                              based on the plan duration, the APR that would otherwise        your ability to include multiple qualifying purchases
                              apply to the purchase amount(s), and other factors. When        or a qualifying amount in a single plan, will be at
                              you set up a plan, the purchases or amount will be moved        our discretion and will be based on a variety of
                              to a plan balance and will be subject to a plan fee instead     factors such as your creditworthiness, the purchase
                              of the APR for purchases.                                       amount(s), and your Account history. You agree to
                                                                                              manage your Account so that the total of your plan
                              A qualifying purchase for Plan It is a purchase of at least     balances (including plan fees) is not more than your
                              a specified dollar amount. A qualifying amount for Plan         Credit Limit.
                              It is a specified portion of your balance. These qualifying
                              purchases or a qualifying amount do not include: cash           Plans cannot be cancelled after they have been set
                              or cash equivalents, purchases subject to Foreign               up but you can choose to pay them early by paying
                              Transaction Fees, or any fees owed to us, including             the New Balance shown on your most recent billing
                              Annual Membership fees.                                         statement in full. If you pay a plan off early, you will
                                                                                              not incur any future plan fees on that plan.
About your payments
When you must pay             You must pay at least the Minimum Payment Due by the            Minimum Payment Due in such time and manner
                              Payment Due Date. The Minimum Payment Due and                   by the Payment Due Date shown on your billing
                              Payment Due Date are shown on each billing statement.           statement.
                              Each statement also states the time and manner by which         Each statement also shows a Closing Date. The
                              you must make your payment for it to be credited as             Closing Date is the last day of the billing period
                              of the same day it is received. For your payment to be          covered by the statement. Each Closing Date is about
                              considered on time, we must receive at least the                30 days after the previous statement's Closing Date.

How to make payments          Make payments to us in U.S. dollars with:                       If we receive it after that time, we will credit the
                              ● a single check drawn on a U.S. bank, or                       payment on the day after we receive it.
                              ● a single negotiable instrument clearable through the          If your payment does not meet the above
                                U.S. banking system, for example a money order, or
                                                                                              requirements, there may be a delay in crediting your
                              ● an electronic payment that can be cleared through the
                                U.S. banking system.                                          Account. This may result in late fees and additional
                                                                                              interest charges (see How Rates and Fees Work on
                              When making a payment by mail:                                  page 2 of Part 1).
                              ● make a separate payment for each account,
                              ● mail your payment to the address shown on the                 We will not accept a payment made in a foreign
                                  payment coupon on your billing statement, and               currency or a payment drawn on an account at a
                              ● write your Account number on your check or negotiable         bank located outside of the U.S.
                                  instrument and include the payment coupon.
                              If your payment meets the above requirements, we will           If we process a late payment, a partial payment, or a
                              credit it to your Account as of the day we receive it, as       payment marked with any restrictive language, that
                              long as we receive it by the time disclosed in your billing     will have no effect on our rights and will not change
                              statement.                                                      this Agreement.
How we apply payments         Your Account may have balances with different interest          ● After the Minimum Payment Due has been paid,
and credits                   rates. For example, purchases may have a lower interest            we apply your payments to the balance subject
                              rate than cash advances. Your Account may also have                to the highest interest rate, then to balances
                              plan balances which are assessed plan fees. If your                subject to lower interest rates, and then to any
                              Account has balances with different interest rates, plan           plan balances.
                              balances, or plan fees, here is how we generally apply          In most cases, we apply a credit to the same balance
                              payments in a billing period:                                   as the related charge. For example, we apply a
                              ● We apply your payments, up to the Minimum Payment             credit for a purchase to the purchase balance. We
                                  Due, first to any plan amounts included in your             may apply payments and credits within balances,
                                  Minimum Payment Due, then to the balance subject to         and among balances with the same interest rate, in
                                  the lowest interest rate, and then to balances subject to   any order we choose. If you receive a credit for a
                                  higher interest rates.                                      purchase placed into a plan, you must call us at the
                                                                                              number on the back of your card to have the credit
                                                                                              applied to the plan balance.

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About your Minimum Payment Due
How we calculate your       To calculate the Minimum Payment Due for each
Minimum Payment Due         billing statement, we start with the highest of:
                                                                                        EXAMPLE: Assume that your New Balance is $2,900,
                            (1) Interest charged on the billing statement plus 1%       interest is $29.57, and you have no active plans,
                              of the New Balance (excluding any interest, penalty       overlimit amount, penalty fees, or amounts past due.
                              fees, overlimit amount, and plan balances); or
                            (2) 2% of the New Balance (excluding any penalty            (1) $29.57 + 1% multiplied by ($2,900 - $29.57) =
                              fees, overlimit amount, and plan balances); or            $58.27
                            (3) $40.                                                    (2) $58 (2% of $2,900)
                            Then we add any penalty fees shown on the billing           (3) $40
                            statement, up to 1/24th of any overlimit amount, any
                                                                                        The highest of (1), (2) or (3) is $58.27
                            plan payment due, and any amount past due.
                                                                                        If your account has any active plans, overlimit
                            Your Minimum Payment Due will not exceed your               amount, penalty fees, or amounts past due, your
                            New Balance. You may pay more than the Minimum              Minimum Payment Due will be higher.
                            Payment Due, up to your New Balance, at any time.

About interest charges
When we charge interest     ● You are not charged interest on purchases when            ● If you have an active plan created through Plan It,
                              you are in an Interest Free Period.                         you can enter an Interest Free Period by paying at
                            ● Your account enters an Interest Free Period when            least the Balance Adjusted for Plans (or Adjusted
                              you pay your New Balance as shown on your                   Balance) by the Payment Due Date.
                              statement by the Payment Due Date or your                 ● Balance Transfers and Cash Advances will be
                              account had no previous balance.                            charged interest from the date of the transaction
                            ● When your account is not in an Interest Free                and do not have an Interest Free Period.
                              Period, we charge interest on purchases from the          For more details about how we calculate your interest
                              date of the transaction.                                  charges, see the How we calculate interest section of
                            ● After you enter an Interest Free Period again,
                                                                                        this agreement.
                              interest may appear on your next billing statement.
                              This reflects interest charged from the beginning of
                              that billing cycle through the date the payment was
                              received.
How we calculate interest   We calculate interest for a billing period by first figuring the interest on each balance. Different categories of
                            transactions--such as purchases and cash advances--may have different interest rates. Balances within each
                            category may also have different interest rates.
                            We use the Average Daily Balance method                     Daily Balance
                            (including new transactions) to figure interest             For each day a DPR is in effect, we figure the daily
                            charges for each balance. The total interest charged        balance by:
                            for a billing period is the sum of the interest charged     ● taking the beginning balance for the day,
                            on each balance.                                            ● adding any new charges,
                                                                                        ● subtracting any payments or credits; and
                            Interest                                                    ● making any appropriate adjustments.
                                                                                        We add a new charge to a daily balance as of its
                            The interest charged for a balance in a billing period,
                                                                                        transaction date.
                            except for variations caused by rounding, equals:
                                                                                        Beginning balance
                            ● Average Daily Balance (ADB) multiplied by
                            ● Daily Periodic Rate (DPR) multiplied by                   For the first day of a billing period, the beginning
                            ● number of days the DPR was in effect.                     balance is the ending balance for the prior billing
                                                                                        period, including unpaid interest. For the rest of the
                            ADB                                                         billing period, the beginning balance is the previous
                            To get the ADB for a balance, we add up its daily           day's daily balance plus an amount of interest equal
                            balances. Then we divide the result by the number           to the previous day's daily balance multiplied by the
                            of days the DPR for that balance was in effect. If the      DPR for that balance. This method of figuring the
                            daily balance is negative, we treat it as zero.             beginning balance results in daily compounding of
                            DPR                                                         interest.
                            A DPR is 1/365th of an APR, rounded to one                  When an interest rate changes, the new DPR may
                            tenthousandth of a percentage point. Your DPRs are          come into effect during--not just at the beginning of--
                            shown in How Rates and Fees Work on page 2 of               the billing period. When this happens, we will create
                            Part 1.                                                     a new balance and apply the new DPR to it. To get
                                                                                        the beginning balance on the first day for this new
                                                                                        balance, we multiply the previous day's daily balance
                            EXAMPLE: Calculating Interest
                                                                                        by the old DPR and add the result to that day's daily
                            Assume that you have a single interest rate of              balance.
                            15.99%, your ADB is $2,250 and there are 30 days in
                                                                                        Other methods
                            the billing period.
                                                                                        To figure the ADB and interest charges, we may use
                            The DPR is 15.99% divided by 365 days = 0.0438%             other formulas or methods that produce equivalent
                            The Interest is $2,250 multiplied by 0.0438%                results. Also, we may choose not to charge interest on
                            multiplied by 30 days = $29.57                              certain types of charges.




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Determining the Prime Rate    We use the Prime Rate from the rates section of The Wall Street Journal. The Prime Rate for each billing period
                                    is the Prime Rate published in The Wall Street Journal on the Closing Date of the billing period.
                                    The Wall Street Journal may not publish the Prime Rate on that day. If it does not, we will use the Prime Rate
                                    from the previous day it was published. If The Wall Street Journal is no longer published, we may use the Prime
                                    Rate from any other newspaper of general circulation in New York, New York. Or we may choose to use a
                                    similar published rate.
                                    If the Prime Rate increases, variable APRs (and corresponding DPRs) will increase. In that case, you may pay
                                    more interest and may have a higher Minimum Payment Due. When the Prime Rate changes, the resulting
                                    changes to variable APRs take effect as of the first day of the billing period.

Other important information
Military Lending Act                Federal law provides important protections to members of the Armed Forces and their dependents relating
                                    to extensions of consumer credit. In general, the cost of consumer credit to a member of the Armed Forces
                                    and his or her dependent may not exceed an annual percentage rate of 36 percent. This rate must include, as
                                    applicable to the credit transaction or account: the costs associated with credit insurance premiums; fees for
                                    ancillary products sold in connection with the credit transaction; any application fee charged (other than certain
                                    application fees for specified credit transactions or accounts); and any participation fee (other than certain
                                    participation fees for a credit card account).
                                    To listen to this statement, as well as a description of your payment obligation for this Account, call us at
                                    855-531-0379.
                                    If you are a covered borrower, the Claims Resolution section of this Agreement will not apply to you in
                                    connection with this Account. Instead, the Claims Resolution for Covered Borrowers section will apply.
About Additional                    At your request, we may issue cards to Additional           If you want to cancel an Additional Cardmember's
Cardmembers                         Cardmembers. They do not have accounts with us              right to use your Account (and cancel their card) you
                                    but they can use your Account subject to the terms          must tell us.
                                    of this Agreement. We may report an Additional              If an Annual Membership fee applies for an Additional
                                    Cardmember's use of your Account to credit reporting        Card, please refer to the refund policy disclosed
                                    agencies.                                                   in the Closing your Account sub-section of your
                                    You are responsible for all use of your Account by          Cardmember Agreement. If a single Annual
                                    Additional Cardmembers and anyone they allow to             Membership fee applies for a group of Additional
                                    use your Account. You must pay for all charges they         Cards on your Account, this policy will apply when
                                    make.                                                       you cancel the first or oldest Additional Card. If an
                                    You authorize us to give Additional Cardmembers             Annual Membership fee applies to Additional Cards
                                    information about your Account and to discuss it with       on your Account, it is shown on page 2 of Part 1 of the
                                    them.                                                       Cardmember Agreement.

Converting charges made in a        If you make a charge in a foreign currency, AE Exposure Management Ltd. ("AEEML") will convert it into U.S.
foreign currency                    dollars on the date we or our agents process it, so that we bill you for the charge in U.S. dollars based upon this
                                    conversion. Unless a particular rate is required by law, AEEML will choose a conversion rate that is acceptable
                                    to us for that date. The rate AEEML uses is no more than the highest official rate published by a government
                                    agency or the highest interbank rate AEEML identifies from customary banking sources on the conversion date
                                    or the prior business day. This rate may differ from rates that are in effect on the date of your charge. We will bill
                                    charges converted by establishments (such as airlines) at the rates they use.
Changing your billing address       You must notify us immediately if you change the:           If you have more than one account, you need to notify
                                    ● mailing address to which we send billing                  us separately for each account.
                                      statements; or                                            We may update your billing address if we receive
                                    ● e-mail address to which we send notice that your          information that it has changed or is incorrect.
                                      billing statement is available online.
Closing your Account                You may close your Account by calling us or writing to us.
                                    If an Annual Membership fee applies, we will refund this fee if you notify us that you are voluntarily closing your
                                    Account within 30 days of the Closing Date of the billing statement on which that fee appears. For cancellations
                                    after this 30 day period, the Annual Membership fee is non-refundable. If an Annual Membership fee applies to
                                    your Account, it is shown on page 1 and page 2 of Part 1 of the Cardmember Agreement.
                                    If your billing address is in the Commonwealth of Massachusetts at the time you close your account, this policy
                                    will not apply to you.
Cancelling or suspending your       We may:                                                     We may do any of these things at our discretion, even
Account                             ● cancel your Account,                                      if you pay on time and your Account is not in default.
                                    ● suspend the ability to make charges,                      If your Account is cancelled, you must destroy your
                                    ● cancel or suspend any feature on your Account,            cards.
                                      and
                                    ● notify merchants that your Account has been               We may agree to reinstate your Account after a
                                      cancelled or suspended.                                   cancellation. If we do this, we may:
                                                                                                ● reinstate any additional cards issued on your
                                    If we do any of these, you must still pay us for all           Account,
                                    charges under the terms of this Agreement.                  ● charge you any applicable annual fees, and
                                                                                                ● charge you a fee for reinstating the Account.




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                              We may consider your               1 default
                                                   Account to be in   Filedif: 07/21/22       Page
                                                                                   If we consider      54 of 63
                                                                                                  your Account in default, we may, to the
About default
                                    ●   you violate a provision of this Agreement,             extent permitted by federal and applicable state law:
                                    ●   you give us false information,                         ● suspend your ability to make charges,
                                    ●   you file for bankruptcy,                               ● cancel or suspend any feature on your Account,
                                    ●   you default under another agreement you have           ● require you to pay more than your Minimum
                                        with us or an affiliate,                                    Payment Due immediately, and
                                   ● you become incapacitated or die, or                       ● require you to pay your Account balance
                                   ● we believe you are unable or unwilling to pay your             immediately.
                                        debts when due.
Collection costs                   You agree to pay all reasonable costs, including attorneys' fees, that we incur to collect amounts you owe.
Credit reports                     You agree that we will obtain credit reports about you, investigate your ability to pay, and obtain information
                                   about you from other sources including information to verify and re-verify your employment and income. And
                                   you agree that we will use such information for any purposes (for example, marketing to you or evaluating you
                                   for a new account), subject to applicable law.
                                   You agree that we will give information about the Account to credit reporting agencies. We will tell a credit
                                   reporting agency if you fail to comply with any term of this Agreement. This may have a negative impact on your
                                   credit report.
                                   If you believe information we have given to a credit reporting agency is incorrect, write to us at: American
                                   Express Credit Bureau Unit, P.O. Box 981537, El Paso, TX 79998-1537. When you write to us, tell us the
                                   specific information you believe is incorrect.
Sending you notices                We mail you notices through the U.S. mail, postage prepaid, and address them to you at the latest billing
                                   address on our records. Any notice that we send you this way is deemed to be given when deposited in the U.S.
                                   mail.
We may contact you                 Servicing and Collections
                                   If we need to contact you to service your account or to collect amounts you owe, you authorize us (and our
                                   affiliates, agents and contractors, such as debt collection agencies and service providers) to contact you at
                                   any phone number or email address you provide, from which you contact us, or at which we believe we can
                                   reach you. We may contact you in any way, such as calling, texting, emailing, sending mobile application push
                                   notifications or using any other method of communication permitted by law. We may contact you using an
                                   automated dialer or prerecorded messages. We may contact you on a mobile, wireless or similar device, even if
                                   you are charged for it.
                                   Call monitoring
                                   We may monitor and record any calls between you and us.
About insurance products           We or our affiliates may tell you about insurance and non-insurance products, services or features that
                                   may have a fee. One of our affiliates may act on behalf of a provider of these products. The affiliate may be
                                   compensated for this. The insurance products are not offered or sold by us or on our behalf. Our affiliates may
                                   get additional compensation when AMEX Assurance Company or another affiliate is the insurer or reinsurer.
                                   Compensation may influence what products and providers we or our affiliates tell you about.
                                   We may share information about you with our affiliates so they can identify products that may interest you. We
                                   may be compensated for this information.
How we handle electronic           When you pay us by check, you authorize us to                If we do this, your payment may be deducted from
debits from your checking          electronically deduct the amount from your bank or           your bank or other asset account on the same day
                                   other asset account.                                         we receive your check. Also, you will not receive that
account
                                   We may process the check electronically by                   cancelled check with your bank or asset account
                                   transmitting to your financial institution:                  billing statement.
                                   ● the amount,                                                If we cannot collect the funds electronically, we may
                                   ● the routing number,                                        issue a draft against your bank or other asset account
                                   ● the account number, and                                    for the amount of the check.
                                   ● the check serial number.
Privacy Act of 1974 notice         Some federal agencies may accept the card under authority of statute. When you make charges at these
                                   agencies, we collect certain charge information. That information may be put to routine uses such as
                                   processing, billing and collections. It may also be aggregated for reporting, analysis and marketing use. Other
                                   routine uses by agencies may be published in the Federal Register.
Convenience checks                 Convenience checks (including balance transfer               add the fee to the same balance that we add the
                                   checks) are checks that we may send you to access            convenience check transaction to.
                                   your Account. The following terms will apply to use          We will charge $29 each time you ask us to stop
                                   of those checks unless otherwise disclosed with the          payment on a convenience check.
                                   check.                                                       A convenience check is not a card. You may not use
                                   If you use a convenience check, we may decline it.           convenience checks to pay this or any other account
                                   If we decline it, you may have to pay returned check         with us or our affiliates. If you use a convenience
                                   fees or other penalties to whomever you wrote the            check, we will apply the:
                                   check.                                                       ● cash advance APR if you make it payable to cash,
                                   If you use a convenience check and we honor it,                   to you, or to a bank, brokerage or similar asset
                                   we will charge interest beginning as of the date we               account, or to a mortgage or insurance provider.
                                   receive the check. You cannot avoid paying interest on ● purchase APR if you make it payable to a
                                   convenience check transactions.                                   merchant.
                                   We will charge a fee for each convenience check              ● balance transfer APR if you use it to transfer a
                                   transaction. This fee is 3% of the transaction, with a            balance from another creditor.
                                                                                                ● penalty APR if it applies to your Account.
                                   minimum of $5. This fee is a finance charge. We will
Changing benefits                  We have the right to add, modify or delete any benefit, service, or feature of your Account at our discretion.
Assigning the Agreement            We may sell, transfer or assign this Agreement and your Account. We may do so at any time without notifying
                                   you. You may not sell, assign or transfer your Account or any of your obligations under this Agreement.
Assigning claims                   If you dispute a charge with a merchant, we may credit the Account for all or part of the disputed charge. If
                                   we do so, you assign and transfer to us all rights and claims (excluding tort claims) against the merchant. You
                                   agree that you will not pursue any claim against the merchant for the credited amount. And you must cooperate
                                   with us if we decide to do so.

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                                   We may choose to delay enforcing or 1
                                                                       to notFiled
                                                                             exercise07/21/22
                                                                                      rights under thisPage   55 Ifofwe63
                                                                                                        Agreement.      do this, we do not waive
We do not waive our rights
                                            our rights to exercise or enforce them on any other occasion.
Governing law                               Utah law and federal law govern this Agreement and            In addition, if your billing address is in the State
                                            your Account. They govern without regard to internal          of Maryland, to the extent, if any, that Maryland
                                            principles of conflicts of law. We are located in Utah.       law applies to your account, we elect to offer your
                                            We hold your Account in Utah. We entered into this            card account pursuant to Title 12, Subtitle 9 of the
                                            Agreement with you in Utah.                                   Maryland Commercial Law Article.
Notice to Oregon Residents                  Service charges not in excess of those permitted by law will be charged on the outstanding balances from
                                            month to month. You may pay more than the Minimum Payment Due, up to your entire outstanding balance, at
                                            any time.
Notice for residents of                     In accordance with the Revised Code of Washington Statutes, Section 63.14.167, you are not responsible for
Washington State                            payment of interest charges that result solely from a merchant's failure to transmit to us within seven working
                                            days a credit for goods or services accepted for return or forgiven if you have notified us of the merchant's delay
                                            in posting such credit, or our failure to post such credit to your account within three working days of our receipt
                                            of the credit.
Claims Resolution
Most customer concerns can be resolved by                 Mediation                                              the claim is filed, except where those rules
calling our Customer Service Department at the            In mediation, a neutral mediator helps parties         conflict with this Agreement. If we choose the
number listed on the back of your card. In the            resolve a claim. The mediator does not decide          organization, you may select the other within
event Customer Service is unable to resolve               the claim but helps parties reach agreement.           30 days after receiving notice of our selection.
a complaint to your satisfaction, this section            Before beginning mediation, you or we must             Contact JAMS or AAA to begin an arbitration
explains how claims can be resolved through               first send a claim notice. Within 30 days after        or for other information. Claims also may be
mediation, arbitration or litigation. It includes         sending or receiving a claim notice, you or we         referred to another arbitration organization if
an arbitration provision. You may reject the              may submit the claim to JAMS (1-800-352-5267,          you and we agree in writing or to an arbitrator
arbitration provision by sending us written               jamsadr.com) or the American Arbitration               appointed pursuant to section 5 of the Federal
notice within 45 days after your first card               Association ("AAA") (1-800-778-7879, adr.org)          Arbitration Act, 9 U.S.C. sec. 1-16 (FAA).
purchase. See Your Right to Reject Arbitration            for mediation. We will pay the fees of the             We will not elect arbitration for any claim you
below.                                                    mediator. All mediation-related communications         file in small claims court, so long as the claim
For this section, you and us includes any                 are confidential, inadmissible in court and not        is individual and pending only in that court.
corporate parents, subsidiaries, affiliates or            subject to discovery.                                  You or we may otherwise elect to arbitrate
related persons or entities. Claim means any                                                                     any claim at any time unless it has been filed
current or future claim, dispute or controversy           All applicable statutes of limitation will be tolled   in court and trial has begun or final judgment
relating to your Account(s), this Agreement, or           from the date you or we send the claim notice          has been entered. Either you or we may delay
any agreement or relationship you have or had             until termination of the mediation. Either you or      enforcing or not exercise rights under this
with us, except for the validity, enforceability          we may terminate the mediation at any time.            Arbitration provision, including the right to
or scope of the Arbitration provision. Claim              The submission or failure to submit a claim to         arbitrate a claim, without waiving the right to
includes but is not limited to: (1) initial claims,       mediation will not affect your or our right to elect   exercise or enforce those rights.
counterclaims, crossclaims and third-party claims;        arbitration.
                                                                                                                 Limitations on Arbitration
(2) claims based upon contract, tort, fraud,              Arbitration
statute, regulation, common law and equity;               You or we may elect to resolve any claim by            If either party elects to resolve a claim by
(3) claims by or against any third party using            individual arbitration. Claims are decided by a        arbitration, that claim will be arbitrated
or providing any product, service or benefit in           neutral arbitrator.                                    on an individual basis. There will be
connection with any account; and (4) claims that          If arbitration is chosen by any party, neither         no right or authority for any claims to
arise from or relate to (a) any account created           you nor we will have the right to litigate that        be arbitrated on a class action basis or
under any of the agreements, or any balances on           claim in court or have a jury trial on that            on bases involving claims brought in a
any such account, (b) advertisements, promotions          claim. Further, you and we will not have               purported representative capacity on behalf
or statements related to any accounts, goods or           the right to participate in a representative           of the general public, other cardmembers
services financed under any accounts or terms             capacity or as a member of any class                   or other persons similarly situated.
of financing, (c) benefits and services related           pertaining to any claim subject to arbitration.        Notwithstanding any other provision and
to card membership (including fee-based or                Arbitration procedures are generally simpler           without waiving the right to appeal such
free benefit programs, enrollment services and            than the rules that apply in court, and                decision, if any portion of these Limitations on
rewards programs) and (d) your application for            discovery is more limited. The arbitrator's            Arbitration is deemed invalid or unenforceable,
any account. You may not sell, assign or transfer         authority is limited to claims between you             then the entire Arbitration provision (other than
a claim.                                                  and us alone. Claims may not be joined                 this sentence) will not apply.
Sending a Claim Notice                                    or consolidated unless you and we agree                Arbitration Procedures
Before beginning a lawsuit, mediation or                  in writing. An arbitration award and any               This Arbitration provision is governed by
arbitration, you and we agree to send a written           judgment confirming it will apply only to              the FAA. The arbitrator will apply applicable
notice (a claim notice) to each party against             the specific case and cannot be used in any            substantive law, statutes of limitations and
whom a claim is asserted, in order to provide             other case except to enforce the award. The            privileges. The arbitrator will not apply any
an opportunity to resolve the claim informally or         arbitrator's decisions are as enforceable              federal or state rules of civil procedure or
through mediation. Go to americanexpress.com/             as any court order and are subject to very             evidence in matters relating to evidence
claim for a sample claim notice. The claim notice         limited review by a court. Except as set forth         or discovery. Subject to the Limitations on
must describe the claim and state the specific            below, the arbitrator's decision will be final         Arbitration, the arbitrator may otherwise award
relief demanded. Notice to you may be provided            and binding. Other rights you or we would              any relief available in court. You and we agree
by your billing statement or sent to your billing         have in court may also not be available in             that the arbitration will be confidential. You
address. Notice to us must include your name,             arbitration.                                           and we agree that we will not disclose the
address and Account number and be sent to                 Initiating Arbitration                                 content of the arbitration proceeding or its
American Express ADR c/o CT Corporation                   Before beginning arbitration, you or we must first     outcome to anyone, but you or we may notify
System, 28 Liberty Street, New York, New York             send a claim notice. Claims will be referred to        any government authority of the claim as
10005. If the claim proceeds to arbitration, the          either JAMS or AAA, as selected by the party           permitted or required by law.
amount of any relief demanded in a claim notice           electing arbitration. Claims will be resolved          If your claim is for $10,000 or less, you
will not be disclosed to the arbitrator until after the   pursuant to this Arbitration provision and the         may choose whether the arbitration will be
arbitrator rules.                                         selected organization's rules in effect when           conducted solely on the basis of documents,


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through a telephonic hearing,        by an in-person  fees. At Document           1 we
                                                                your written request,   Filed     07/21/22
                                                                                           will consider          Pageprovision
                                                                                                         in Arbitration     56 ofand 63any other arbitration
hearing. At any party's request, the arbitrator will  good faith making a temporary advance of your         provisions in the cardmember agreements for
provide a brief written explanation of the award.     share of any arbitration fees, or paying for the      any other currently open American Express
The arbitrator's award will be final and binding,     reasonable fees of an expert appointed by the         accounts you have will not apply to you, except
subject to each party's right to appeal as stated     arbitrator for good cause.                            for Corporate Card accounts and any claims
in this section and/or to challenge or appeal an      Additional Arbitration Awards                         subject to pending litigation or arbitration at the
arbitration award pursuant to the FAA. To initiate    If the arbitrator rules in your favor for an          time you send your rejection notice. Rejection
an appeal, a party must notify the arbitration        amount greater than any final offer we made           of this Arbitration provision will not affect your
organization and all parties in writing within 35     before the final hearing in arbitration, the          other rights or responsibilities under this Claims
days after the arbitrator's award is issued. The      arbitrator's award will include: (1) any money to     Resolution section or the Agreement. Rejecting
arbitration organization will appoint a three-        which you are entitled, but in no case less than      this Arbitration provision will not affect your
arbitrator panel to decide anew, by majority vote     $5,000; and (2) any reasonable attorneys' fees,       ability to use your card or any other benefit,
based on written submissions, any aspect of the       costs and expert and other witness fees.              product or service you may have with your
decision objected to. The appeal will otherwise                                                             Account.
proceed pursuant to the arbitration organization's    Your   Right  to  Reject  Arbitration
                                                      You may reject this Arbitration provision by          Continuation
appellate rules. Judgment upon any award may                                                                This section will survive termination of your
be entered in any court having jurisdiction. At your  sending   a  written rejection notice  to  us at:
                                                      American Express, P.O. Box 981556, El Paso,           Account, voluntary payment of your Account
election, arbitration hearings will take place in the                                                       balance, any legal proceeding to collect a debt,
federal judicial district of your residence.          TX   79998.  Go   to americanexpress.com/reject
                                                      for a sample rejection notice. Your rejection         any bankruptcy and any sale of your Account
Arbitration Fees and Costs                            notice must be mailed within 45 days after your       (in the case of a sale, its terms will apply to the
You will be responsible for paying your share         first card purchase. Your rejection notice must       buyer of your Account). If any portion of this
of any arbitration fees (including filing,            state that you reject the Arbitration provision       Claims Resolution section, except as otherwise
administrative, hearing or other fees), but only up   and include your name, address, Account               provided in the Limitations on Arbitration
to the amount of the filing fees you would have       number and personal signature. No one else            subsection, is deemed invalid or unenforceable,
incurred if you had brought a claim in court. We      may sign the rejection notice. If your rejection      it will not invalidate the remaining portions of
will be responsible for any additional arbitration    notice complies with these requirements, this         this Claims Resolution section.




Claims Resolution for Covered Borrowers
Most customer concerns can be resolved by               our request. We may include our request with         also request to resolve any claim by individual
calling our Customer Service Department at the          your billing statement or mail it to your home       arbitration, but you are not required to accept
number listed on the back of your Card. In the          address. Notice to us must include your name,        our request. Claims are decided by a neutral
event Customer Service is unable to resolve a           address and Account number and be sent to            arbitrator.
complaint to your satisfaction, this section explains   American Express ADR c/o CT Corporation              If you elect or agree to resolve a claim
how claims can be resolved through litigation,          System, 28 Liberty Street, New York, New             through arbitration, your or our right to
non-binding mediation or, at your election,             York 10005. If the claim proceeds to litigation,     litigate that claim in court or have a jury trial
arbitration. You are not required to resolve any        mediation or arbitration, the amount of any          on that claim may be limited. Further, you
claims by mediation and arbitration. For this           relief demanded in a claim notice will not be        and we may not have the right to participate
section, you and us includes any corporate              disclosed. You are not required to resolve           in a representative capacity or as a member
parents, subsidiaries, affiliates or related persons    your claim through mediation or arbitration.         of any class pertaining to any claim subject
or entities. Claim means any current or future          You may decline our request to resolve a             to arbitration. Arbitration procedures are
claim, dispute or controversy relating to your          claim through mediation or arbitration. You          generally simpler than the rules that apply
Card account, this Agreement, or any agreement          may elect to resolve your claim through              in court, and discovery is more limited. The
or relationship you have or had with us, except         litigation.                                          arbitrator's authority is limited to claims
for the validity, enforceability or scope of the        Mediation                                            between you and us alone. Claims may not
Arbitration provision. Claim includes but is not        If you elect to resolve your claim through           be joined or consolidated unless you and
limited to: (1) initial claims, counterclaims, cross-   mediation, a neutral mediator will help              we agree in writing. An arbitration award
claims and third-party claims; (2) claims based         resolve the claim. The mediator does not             and any judgment confirming it will apply
upon contract, tort, fraud, statute, regulation,        decide the claim but helps parties reach             only to the specific case and cannot be
common law and equity; (3) claims by or against         agreement. Before beginning mediation, you           used in any other case except to enforce
any third party using or providing any product,         or we must first send a claim notice. Within         the award. The arbitrator's decisions are
service or benefit in connection with any account;      30 days after sending or receiving a claim           as enforceable as any court order and are
and (4) claims that arise from or relate to (a) any     notice, you or we may submit the claim to            subject to very limited review by a court.
account created under any of the agreements             JAMS (1-800-352-5267, jamsadr.com) or                Except as set forth below, the arbitrator's
or any balances on any such account, (b)                the American Arbitration Association ("AAA")         decision will be final and binding. Other
advertisements, promotions or statements related        (1-800-778-7879, adr.org) for mediation. We          rights you or we would have in court may
to any accounts, goods or services financed             will pay the fees of the mediator. All mediation-    also not be available in arbitration.
under any accounts or terms of financing, (c)           related communications are confidential,
benefits and services related to Card membership        inadmissible in court and not subject to             Initiating Arbitration
(including fee-based or free benefit programs,          discovery. All applicable statutes of limitation     If you and we agree to proceed to arbitration,
enrollment services and rewards programs) and           will be tolled from the date you or we send the      claims will be referred to either JAMS or
(d) your application for any account. You may not       claim notice until termination of the mediation.     AAA, as selected by the party electing
sell, assign or transfer a claim.                       Either you or we may terminate the mediation         arbitration. Claims will be resolved pursuant
                                                        at any time. The submission or failure to submit     to this Arbitration provision and the selected
Sending a Claim Notice                                                                                       organization's rules in effect when the claim is
Before beginning a lawsuit, arbitration or              a claim to mediation will not affect your or
                                                        our right to elect litigation or arbitration. The    filed, except where those rules conflict with this
non-binding mediation, you may send a                                                                        Agreement.
written notice (a claim notice) to us. Go to            outcome of mediation proceedings is non-
americanexpress.com/claim for a sample claim            binding. You may proceed to litigation or            If we choose the organization, you may select
notice. The claim notice should describe the claim      arbitration regardless of the outcome of             the other within 30 days after receiving notice
and state the specific relief demanded. We may          mediation.                                           of our selection.
also request that we resolve a claim by mediation       Arbitration                                          Contact JAMS or AAA to begin an arbitration
or arbitration, but you are not required to accept      You may elect, but are not required, to resolve      or for other information. Claims also may be
                                                        any claim by individual arbitration. We may          referred to another arbitration organization if
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                       Case 6:22-cv-01070-AA      Document 1 Filed 07/21/22Arbitration
                                          on Arbitration provisions, the arbitrator may
you and we agree in writing or to an arbitrator
                                                                                        PageFees
                                                                                             57 and
                                                                                                 of 63
                                                                                                    Costs
appointed pursuant to section 5 of the Federal           otherwise award any relief available in court.        You will be responsible for paying your share
Arbitration Act, 9 U.S.C. sec. 1-16 (FAA). We            You and we agree that the arbitration will be         of any arbitration fees (including filing,
will not request arbitration for any claim you file      confidential. You and we agree that we will           administrative, hearing or other fees), but only
in small claims court, so long as the claim is           not disclose the content of the arbitration           up to the amount of the filing fees you would
individual and pending only in that court. You           proceeding or its outcome to anyone, but you          have incurred if you had brought a claim in
may otherwise elect to arbitrate any claim at any        or we may notify any government authority of          court. We will be responsible for any additional
time unless it has been filed in court and trial has     the claim as permitted or required by law.            arbitration fees. At your written request, we
begun or final judgment has been entered.                If your claim is for $10,000 or less, you             will consider in good faith making a temporary
Limitations on Arbitration                               may choose whether the arbitration will be            advance of your share of any arbitration fees,
If the parties agree to resolve a claim by               conducted solely on the basis of documents,           or paying for the reasonable fees of an expert
arbitration, that claim will be arbitrated on an         through a telephonic hearing, or by an in             appointed by the arbitrator for good cause.
individual basis pursuant to that agreement,             person hearing. At any party's request, the           Additional Arbitration Awards
and the agreement would not allow claims                 arbitrator will provide a brief written explanation   If the arbitrator rules in your favor for an
to be arbitrated on a class action basis or on           of the award. The arbitrator's award will be          amount greater than any final offer we made
bases involving claims brought in a purported            final and binding, subject to each party's right      before the final hearing in arbitration, the
representative capacity on behalf of the                 to appeal as stated in this section and/or            arbitrator's award will include: (1) any money to
general public, other Cardmembers, or other              to challenge or appeal an arbitration award           which you are entitled, but in no case less than
persons similarly situated.                              pursuant to the FAA. To initiate an appeal, a         $5,000; and (2) any reasonable attorneys' fees,
                                                         party must notify the arbitration organization        costs and expert and other witness fees.
Notwithstanding any other provision and without          and all parties in writing within 35 days after
waiving the right to appeal such decision, if            the arbitrator's award is issued. The arbitration     Continuation
any portion of these Limitations on Arbitration          organization will appoint a three-arbitrator panel    This section will survive termination of your
provisions is deemed invalid or unenforceable,           to decide anew, by majority vote based on             Account, voluntary payment of your Account
then the entire Arbitration provision (other than this   written submissions, any aspect of the decision       balance, any legal proceeding to collect a debt,
sentence) will not apply.                                objected to. The appeal will otherwise proceed        any bankruptcy and any sale of your Account
Arbitration Procedures                                   pursuant to the arbitration organization's            (in the case of a sale, its terms will apply to the
This Arbitration provision is governed by the FAA.       appellate rules. Judgment upon any award              buyer of your Account). If any portion of this
The arbitrator will apply applicable substantive         may be entered in any court having jurisdiction.      Claims Resolution section, except as otherwise
law, statutes of limitations and privileges. The         At your election, arbitration hearings will take      provided in the Limitations on Arbitration
arbitrator will not apply any federal or state rules     place in the federal judicial district of your        subsection, is deemed invalid or unenforceable,
of civil procedure or evidence in matters relating to    residence.                                            it will not invalidate the remaining portions of
evidence or discovery. Subject to the Limitations                                                              this Claims Resolution section.

Your Billing Rights: Keep this Document for Future Use
This notice tells you about your rights and our          While we investigate whether or not there has         Your Rights If You Are Dissatisfied With
responsibilities under the Fair Credit Billing Act.      been an error:                                        Your Credit Card Purchases
What To Do If You Find a Mistake on Your                 ● We cannot try to collect the amount in              If you are dissatisfied with the goods or
Statement                                                  question, or report you as delinquent on that       services that you have purchased with your
                                                           amount.                                             credit card, and you have tried in good faith to
If you think there is an error on your statement,
                                                         ● The charge in question may remain on your           correct the problem with the merchant, you may
write to us at:                                            statement, and we may continue to charge
      American Express                                                                                         have the right not to pay the remaining amount
                                                           you interest on that amount.                        due on the purchase.
      PO Box 981535                                      ● While you do not have to pay the amount
      El Paso TX 79998-1535                                in question, you are responsible for the            To use this right, all of the following must be
In your letter, give us the following information:         remainder of your balance.                          true:
● Account information: Your name and account             ● We can apply any unpaid amount against
    number.                                                your credit limit.                                  1. The purchase must have been made in your
● Dollar amount: The dollar amount of the                                                                        home state or within 100 miles of your current
                                                         After we finish our investigation, one of two           mailing address, and the purchase price must
    suspected error.
● Description of problem: If you think there is an       things will happen:                                     have been more than $50. (Note: Neither of
    error on your bill, describe what you believe is     ● If we made a mistake: You will not have to            these are necessary if your purchase was
    wrong and why you believe it is a mistake.               pay the amount in question or any interest or       based on an advertisement we mailed to you,
                                                             other fees related to that amount.
You must contact us:                                                                                             or if we own the company that sold you the
                                                         ● If we do not believe there was a mistake:
● Within 60 days after the error appeared on your            You will have to pay the amount in question,        goods or services.)
  statement.                                                 along with applicable interest and fees. We       2. You must have used your credit card for
● At least 2 business days before an automated               will send you a statement of the amount you         the purchase. Purchases made with cash
  payment is scheduled, if you want to stop                  owe and the date payment is due. We may             advances from an ATM or with a check that
  payment on the amount you think is wrong.                  then report you as delinquent if you do not         accesses your credit card account do not
You must notify us of any potential errors in                pay the amount we think you owe.                    qualify.
writing. You may call us, but if you do we are not       If you receive our explanation but still believe      3. You must not yet have fully paid for the
required to investigate any potential errors and         your bill is wrong, you must write to us within         purchase.
you may have to pay the amount in question.              10 days telling us that you still refuse to pay. If   If all of the criteria above are met and you are
What Will Happen After We Receive Your Letter            you do so, we cannot report you as delinquent         still dissatisfied with the purchase, contact us in
When we receive your letter, we must do two              without also reporting that you are questioning       writing at:
things:                                                  your bill. We must tell you the name of anyone           American Express
1. Within 30 days of receiving your letter, we must      to whom we reported you as delinquent, and               PO Box 981535
  tell you that we received your letter. We will also    we must let those organizations know when the            El Paso TX 79998-1535
  tell you if we have already corrected the error.       matter has been settled between us.                   While we investigate, the same rules apply to
2. Within 90 days of receiving your letter, we must      If we do not follow all of the rules above, you do    the disputed amount as discussed above. After
  either correct the error or explain to you why we      not have to pay the first $50 of the amount you       we finish our investigation, we will tell you our
  believe the bill is correct.                           question even if your bill is correct.                decision. At that point, if we think you owe an
                                                                                                               amount and you do not pay, we may report you
                                                                                                               as delinquent.


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Your Agreement for Transferring Funds Electronically
This EFT Agreement is between American                 Improper transactions or payments                     copies of the documents that we used in our
Express Travel Related Services Company,               If we do not complete a transfer to or from your      investigation. If we have credited your bank
Inc. and you, once you enroll in an Electronic         bank account on time or in the correct amount,        account and find no error, we will tell you when
Funds Transfer Service of ours (service) such as       according to this EFT Agreement, we will be           we will withdraw that amount from your bank
AutoPay, Pay By Computer, or Pay By Phone.             liable for your losses or damages.                    account again. You authorize us to withdraw
This replaces any previous agreement you may           There are some exceptions. We are not liable:         this amount from your bank account. If your
have with us for the services.                         ● if, through no fault of ours, you do not have       bank account does not have enough funds
Words we use in this agreement                           enough money in your bank account;                  to cover this withdrawal, we can charge the
In this EFT Agreement, you and your mean,              ● if the transfer would go over the credit limit on   amount to your card account or collect the
in addition to the Basic Cardmember, any                 any overdraft line you may have;                    amount from you. If this happens, we may
Additional Cardmembers who have enrolled in            ● if the funds in your bank account were subject      cancel your right to use a service.
the service. We, our, and us mean American               to legal process or other encumbrance that          We may end the services
Express Travel Related Services Company,                 restricted the transaction;                         We may extend or limit the services at any
                                                       ● if circumstances beyond our control (such
Inc. Your card account means the American                                                                    location without telling you ahead of time. Also,
                                                         as fire or flood) prevented the transaction,
Express card account. Your bank is the bank,             despite our reasonable precautions; or              we may stop a service at any time.
securities firm, or other financial institution that   ● if the terminal or system was not working           We may cancel your participation in a service
holds your bank account. Your bank account               properly and you knew about the breakdown           at any time. If we do, we will write to you, but
is the bank account you use to pay for any               when you started the transfer.                      we may not send you the notice until after we
transactions you make through the service.                                                                   cancel. Also, we may refuse to authorize a
                                                       Privacy
Withdraw or withdrawal means an electronic                                                                   transaction at our discretion.
                                                       We will disclose information to third parties about
debit or deduction of funds from your bank
                                                       your transactions:                                    We will end or suspend use of a service if:
account. Our business days are Monday through
                                                       ● when necessary for completing transactions;         ● you do not use it for 18 months in a row,
Friday, excluding holidays.                            ● to comply with government agency or court           ● your card account is in default,
AutoPay, Pay By Computer, Pay By Phone                    orders; or                                         ● your card account is cancelled or
With these services, you can initiate electronic       ● as stated in our Privacy Notice, which covers         suspended,
payments to your card account. When you do                your use of the services.                          ● you cancel the authorization you gave your
so, you allow us or our agent to draw a check          Arbitration                                             bank to pay for any transactions you make
on or initiate an automated clearing house             The Claims Resolution section or, as applicable,        through the service, or
(ACH) withdrawal from your bank account in the         the Claims Resolution for Covered Borrowers           ● your bank account is closed to withdrawals
amount you authorize.                                  section, in Part 2 of the Cardmember Agreement,         by us or our agents.
If your bank returns a check or ACH withdrawal         applies to this EFT Agreement and the services.       You may choose to stop using any service.
unpaid the first time we submit it for payment, we                                                           If you do, you must write to us at American
may cancel your right to use the service. Your                                                               Express, Electronic Funds Services, P.O. Box
                                                       In case of errors or questions
bank may charge you a fee if this happens.                                                                   981531, El Paso, TX 79998-1531.
                                                       If you think your statement or receipt is wrong, or
How to contact us about the services                   if you need more information about a transaction      Assignment
You can call us at 1-800-IPAY-AXP for Pay By           on your statement or receipt, call or write           We may assign this EFT Agreement to a
Phone questions, at 1-800-528-2122 for Pay By          us as soon as you can. We must hear from              subsidiary or affiliate at any time.
Computer questions, and at 1-800-528-4800 for          you no later than 60 days after we sent the           Note for Massachusetts residents
AutoPay questions. You may also write to us at         FIRST statement on which the problem or error         General disclosure statement: Any
American Express, Electronic Funds Services,           appeared. If you do not contact us because of         documentation given to you which shows that
P.O. Box 981531, El Paso, TX 79998-1531.               certain circumstances (such as you are in the         an electronic funds transfer was made will be
                                                       hospital), we may extend the 60-day period for a      admissible as evidence of that transfer and will
How to stop AutoPay payments
                                                       reasonable time. When you contact us:                 constitute prima facie proof that the transfer
If you have told us to make AutoPay payments
                                                       ● tell us your name and account number.               was made.
from your bank account, you can stop any of
                                                       ● describe the error or the transaction you are
these payments by calling us at 1-800-227-4669             unsure about. Explain as clearly as you can       Except as explained in this EFT Agreement,
or writing to American Express, Electronic                 why you believe it is an error or why you need    if you initiate an electronic funds transfer from
Funds Services, P.O. Box 981540, El Paso,                  more information.                                 your bank account, you cannot stop payment of
TX 79998-1540 in time for us to receive your           ● tell us the amount of the suspected error.          the transfer.
request at least 2 business days before the
                                                       If you tell us orally, we may require that you send   Unless otherwise provided in
payment is scheduled to be made. We will tell
                                                       us your complaint or question in writing within
you, at least 10 days before each payment,
                                                       10 business days after you called us. Within 10
                                                                                                             this EFT Agreement, you may not
when it will be made and how much it will be.                                                                stop payment of electronic funds
                                                       business days after we hear from you we will
If we receive your request to stop one of these
payments at least 2 business days before the
                                                       determine whether an error has occurred. We will      transfers. Therefore, do not use
                                                       correct any error promptly. However, if we need       electronic transfers for purchases
payment is scheduled to be made and we do not
                                                       more time, we may take up to 45 calendar days
stop it, we will be liable for
                                                       to investigate. If we do take more time, we will
                                                                                                             or service unless you are satisfied
your losses or damages.                                                                                      that you will not need to stop
                                                       credit your bank account within 10 business days
Unauthorized transactions                              for the amount you think is in error so that you      payment.
Tell us AT ONCE if you believe that a transaction      will have use of the funds during the time it takes   Disclosure of bank account information
has been made without your permission using            to complete our investigation.                        to third parties: If you give us your written
your card or information about your card
                                                       If we ask you to put your complaint or question       authorization to disclose information about you,
account. Calling is the best way of keeping
                                                       in writing and we do not receive it within 10         your bank account, or the transactions that
your possible losses down. You could lose all
                                                       business days, we may not credit your bank            you make to any person, that authorization will
the money in your bank account (plus your
                                                       account for the amount you question.                  automatically expire 45 days after we receive it.
maximum overdraft line of credit, if applicable).
                                                       We will tell you the results within 3 business days   Optional limit on obtaining cash: You can
Call anytime at 1-800-528-4800 (or
                                                       after completing our investigation. If we decide      ask us to limit the total amount of cash that
1-336-393-1111 collect, if not in the U.S.). You
                                                       that there was no error, we will send you a written   you may get from ATMs in a single day to
may also write to us at American Express,
                                                       explanation. You may ask for                          $50. If you choose this option, we will take all
Electronic Funds Services, P.O. Box 981532, El
Paso, TX 79998-1532.                                                                                         reasonable steps to comply with your request.



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  FACTS              WHAT DOES AMERICAN EXPRESS DO WITH YOUR PERSONAL INFORMATION?


Why?               Financial companies choose how they share your personal information. Federal law gives consumers
                   the right to limit some but not all sharing. Federal law also requires us to tell you how we collect,
                   share, and protect your personal information. Please read this notice carefully to understand what we
                   do.
What?              The types of personal information we collect and share depend on the product or service you have
                   with us. This information can include:
                       ●
                          Social Security number and income
                       ●
                          transaction history and account history
                       ●
                          insurance claim history and credit history
How?               All financial companies need to share customers' personal information to run their everyday business.
                   In the section below, we list the reasons financial companies can share their customers' personal
                   information; the reasons American Express chooses to share; and whether you can limit this sharing.


                                                                Does American
Reasons we can share personal information                       Express share? Can you limit this sharing?

For our everyday business purposes -                                    Yes                             No
such as to process your transactions, maintain your
account(s), respond to court orders and legal investigations,
or report to credit bureaus
For our marketing purposes -                                            Yes                             No
to offer our products and services to you                                               (but please see the "To limit direct
                                                                                       marketing" box below for information
                                                                                         about additional privacy choices)
For joint marketing with other financial companies                      Yes                             No
For our affiliates' everyday business purposes -                        Yes                             No
information about your transactions and experiences
For our affiliates' everyday business purposes -                        Yes                            Yes
information about your creditworthiness
For our affiliates to market to you                                     Yes                            Yes
For nonaffiliates to market to you                                      No           We don't share personal information
                                                                 (although we may
                                                                share aggregated or
                                                                 de-identified data)

                      ●
To limit our            Visit us online: www.americanexpress.com/communications or
                      ●
sharing                 Call 1-855-297-7748 - our menu will prompt you through your choice(s)
                   Please note:
                   If you are a new customer, we can begin sharing your personal information 30 days from the date
                   we sent this notice. When you are no longer our customer, we continue to share your personal
                   information as described in this notice.
                   However, you can contact us at any time to limit our sharing.
To limit direct    We provide additional privacy choices to customers. Privacy elections you make for any one product
marketing          or service may not automatically be applied to other products and services. To let us know if you do
                   not want us to use your personal information to communicate with you about offers by mail, telephone,
                   and/or e-mail:
                      ●
                         Visit us online: www.americanexpress.com/communications or
                      ●
                         Call 1-855-297-7748 (except for choices about e-mail communications)
Questions?         Call 1-800-528-4800 or go to www.americanexpress.com/contact.

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Who we are
Who is providing this       American Express Travel Related Services Company, Inc. and other American Express
Notice                      Affiliates that provide financial products or services, including American Express National
                            Bank and AMEX Assurance Company.
What we do
How does American           To protect your personal information from unauthorized access and use, we use security
Express protect my          measures that comply with federal law. These measures include computer safeguards and
personal information?       secured files and buildings.
How does American           We collect your personal information, for example, when you
Express collect my             ●
                                  open an account or pay your bills
personal information?          ●
                                  give us your income information or give us your contact information
                               ●
                                  use your credit card
                            We also collect your personal information from others, such as credit bureaus, affiliates, or
                            other companies.
Why can't I limit all       Federal law gives you the right to limit only
sharing of personal            ●
                                  sharing for affiliates' everyday business purposes - information about your
information?                      creditworthiness
                               ●
                                  affiliates from using your information to market to you
                               ●
                                  sharing for nonaffiliates to market to you
                            State laws and individual companies may give you additional rights to limit sharing. See
                            below for more on your rights under state law.
What happens when           Your choices will apply to everyone on your account.
I limit sharing for an
account I hold jointly
with someone else?

Definitions
Affiliates         Companies related by common ownership or control. They can be financial and nonfinancial
                   companies.
                     ●
                       Our affiliates include companies with the American Express name, including financial companies
                       such as American Express Travel Related Services Company, Inc. and nonfinancial companies.
                       Affiliates may also include other companies related by common ownership or control, such as
                       AMEX Assurance Company, a provider of American Express Card-related insurance services.
Nonaffiliates      Companies not related by common ownership or control. They can be financial and nonfinancial
                   companies.
                     ●
                       Nonaffiliates with which we share personal information include service providers, including, for
                       example, direct marketers, that perform services or functions on our behalf.
Joint marketing A formal agreement between nonaffiliated companies that together market financial products or
                services to you.
                   ●
                      Our joint marketing partners include financial companies.

Other important information
We may transfer personal information to other countries, for example, for customer service or to process transactions.
AMEX Assurance Company customers. You may have the right to access and correct recorded personal information.
Personal information may be disclosed by us to detect fraud or misrepresentation, to verify insurance coverage, to
an insurance regulatory authority, law enforcement or other governmental authority pursuant to law, or to a group
policyholder for purposes of reporting claims experience or conducting an audit. Personal information related to
insurance claim activity obtained from a report prepared by an insurance-support organization on our behalf may be
retained by such organization and disclosed as required by law. State law may be more protective than federal law.
California: If your American Express account has a California billing address, we will not share your personal information
except to the extent permitted under California law.
Vermont: If your American Express account has a Vermont billing address, we will automatically treat your account as if
you have directed us not to share information about your creditworthiness with our Affiliates.

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                                               SUMMARY OF ADDITIONAL BENEFITS

                       Below is a summary of your benefits. To view the full Terms and
                    Conditions please visit us at www.americanexpress.com/benefitsguide
                       or call the number on the back of your American Express Card.

TRAVEL-RELATED BENEFITS
Global Assist Hotline
When you travel more than 100 miles from home, you have 24/7 medical, legal, financial or other select emergency coordination and assistance
services, including medical and legal referrals, passport replacement, cash wires and more. You may be responsible for the costs charged by third-party
service providers.

To request services and/or assistance please call us at 1-800-333-2639 (US) and 1-715-343-7977 (Intl).

THE FOLLOWING TRAVEL-RELATED INSURANCE BENEFITS ARE UNDERWRITTEN BY AMEX
ASSURANCE COMPANY
                                                        1
Car Rental Loss and Damage Insurance
Getting into your Rental Vehicle can be the start of a great vacation. When you use your Eligible Card to reserve and pay for the Entire Rental and
decline the collision damage waiver at the Rental Company counter, you can be covered for Damage to or Theft of a Rental Vehicle in a Covered
Territory, subject to the Coverage Limits.

What Are The Coverage Limits and Duration?
●    Up to $50,000 for Damage to or Theft of a Rental Vehicle.
●    First 30 days for each Rental Agreement.

                                                              2
What Are Some Important Exclusions and Limitations?
●    Not all vehicle types or rentals are covered.
●    Coverage is not available for vehicles rented in Australia, Italy, and New Zealand.
●    Coverage is not available for ride-sharing companies that allow individuals to rent their personal vehicles.
●    This product provides secondary coverage on all benefits and does not include liability coverage.

For residents of New York State, please refer to the full policy sent separately.

To file a claim for a qualifying event please visit us at www.americanexpress.com/protectionbenefits or call us at 1-888-338-1670 (US) and
1-216-617-2500 (Intl).

RETAIL-RELATED BENEFITS

THE FOLLOWING RETAIL-RELATED INSURANCE BENEFITS ARE UNDERWRITTEN BY AMEX
ASSURANCE COMPANY
                             1
Purchase Protection
Sometimes your favorite new purchase gets stolen or accidentally damaged. But when you use your Eligible Card for Covered Purchases, your
Membership can help protect them for up to 90 days from the Covered Purchase date.

What Are The Coverage Limits?
●    Up to $1,000 per Covered Purchase.
●    Up to $500 for all Covered Purchases per occurrence related to a Natural Disaster loss.
●    $50,000 per Eligible Card account for each calendar year.

                                                              2
What Are Some Important Exclusions and Limitations?
●    Purchases that have a limited life spans like food, perfume, light bulbs, or batteries.
●    Shipping and handling costs related to the purchase are not eligible for coverage.
●    Covered Purchases does not include items like downloadable services, Motorized Devices, and Motorized Device Parts.
●    This product provides secondary coverage.

To file a claim for a qualifying event please visit us at www.americanexpress.com/onlineclaim or call us at 1-800-228-6855 (US) and 1-303-273-6498
(Intl).

1
 Certain restrictions, terms and conditions apply. Coverage is provided by AMEX Assurance Company. For more information about your coverage,
please see your Guide to Benefits at www.americanexpress.com/benefitsguide.

2
 Not an all-inclusive list of Policy exclusions and limitations. Please see your Guide to Benefits for further details.
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